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Region   Child Name           Date of Incident             Location




  7                             9/29/2023




  7                             9/23/2023




                                                 601                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06A                            9/22/2023




                                                 602                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                             9/3/2023




 03E                             9/3/2023




                                                 603                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location

 03E                             9/3/2023




  7                             9/27/2023




                                                 604                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             10/25/2023




 11                             10/25/2023




                                                 605                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             10/27/2023




 08A                            10/15/2023



 08A                            10/11/2023




                                                 606                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             10/25/2023




  7                             10/18/2023




  7                             10/18/2023




                                                 607                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             10/6/2023




  7                             10/6/2023




                                                 608                                   Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             10/2/2023




  7                             10/2/2023
  7                             10/2/2023




                                                 609                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location


 3E                              10/8/2023




  4                              10/17/2023




 08A                             10/18/2023


 08A                             10/22/2023




 08A                             10/22/2023




 08A                             10/19/2023




                                                  610                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location



 08A                             10/27/2023




  7                              10/11/2023




                                                  611                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                             10/11/2023




 08A                             10/30/2023




                                                  612                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                             10/18/2023




                                                  613                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06A                             10/18/2023




 10                              10/11/2023


 08A                             11/1/2023




  7                              11/20/2023




                                                  614                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location


  7                              11/25/2023



  7                              11/25/2023




  7                              11/21/2023




                                                  615                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              11/20/2023




                                                  616                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              11/19/2023




                                                  617                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              11/18/2023




  7                              11/18/2023




                                                  618                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              11/28/2023




  7                              11/28/2023




  7                              11/16/2023




                                                  619                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location

  7                              11/16/2023




  7                              11/19/2023




  7                              11/25/2023




  7                              11/13/2023




  7                              11/2/2023




                                                  620                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              11/6/2023




 11                              11/12/2023




                                                  621                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location

 08B                             11/1/2023




  7                              11/14/2023




  7                              11/14/2023



  7                              11/14/2023




                                                  622                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             11/26/2023




                                                  623                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 08A                             11/20/2023




 08A                             11/28/2023




 08A                             11/13/2023



 08A                             11/3/2023




                                                  624                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  4                              11/24/2023




  4                              11/24/2023




                                                  625                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




  7                              11/3/2023




 06A                             11/4/2023




                                                  627                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




 06B                             11/2/2023




                                                  628                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  629                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  630                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  631                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  632                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  633                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  634                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  635                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  636                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  637                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  638                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  639                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  640                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  641                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  642                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  643                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  644                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  645                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  646                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  647                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  648                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  649                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  650                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  651                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  652                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  653                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  654                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  655                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  656                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  657                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  658                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  659                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  660                                   Dec 2022 - Nov 2023
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                                                  661                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  662                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  663                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  664                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  665                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  666                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  667                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  668                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  669                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  670                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  671                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  672                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  673                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  674                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  675                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  676                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  677                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  678                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  679                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  680                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  681                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  682                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  683                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  684                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  685                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  686                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  687                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  688                                   Dec 2022 - Nov 2023
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Region   Child Name            Date of Incident            Location




                                                  689                                   Dec 2022 - Nov 2023
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                                                                                 Description
           was asked several times not to shoot the nerf gun in the house. Around 1:20pm he shot the nerf gun in the direction of the Christmas tree while worker Rivera
    was standing by the couch nearby. Worker Rivera told             l he could no longer have the gun until he gives up the bullet that he shot and put the nerf gun away.
           argued that he couldn’t give up the bullet because he didn’t have it. He was told that he needed to find the bullet in order to have the nerf gun back. Workers
     and security all attempted to help           look for the bullet but he was not looking very well, refused to look inside the gift bags in front of the tree, and when
 workers attempted to look inside the bags he yelled at us to stop. Worker Rivera advised that it would be noted that he was “refusing to give up the bullet” so
  got more upset, called us “bitches” and requested to talk PD Urbina. At one point he stated “you’re lucky you’re a girl because I would beat the fuck out of you if you
      weren’t”. PD Urbina was called as requested and              attempted to explain to PD that he was frustrated because the worker was “lying on him”. PD Urbina
 explained that whatever avents took place would be documented appropriately and if he is not going to try to find the bullet he will not get the nerf gun back because
  he shouldn’t have gotten it in the first place and he was told not to shoot it in the house.           continued to escalate yelling at PD Urbina so she told him that if he
couldn’t be respectful he would not be receiving the tablet she was going to provide to him. He continued to argue that staff makes him mad, that he “is not Jesus” and
“can’t be perfect” like he’s expected to be. PD Urbina explained several times that he is just expected to follow rules and be respectful and warned that if he continued
 to yell then she would end the call but           continued to yell so PD Urbina hung up. During the call workers and security all attempted to ask               to calm down
 and stop yelling but he told workers to “shut the fuck up”. While yelling on the phone             leaned over the table towards worker Rivera and continuously punched
   the table and punched the remote until it broke. He also stated that “one of these staff is going to make me have to go to jail”.             then stated he wanted to go
   outside but was told not to because it’s too cold. He walked out anyways walked around the front yard for a bit then walked back inside. At this same time Sup Beal
   then called worker Rivera to ask what was going on and requested to talk to             .         explained the same thing about being mad because he didn’t have the
  bullet and wanted his gun back. Sup Beal reminded              that he was promised dinner from another worker at 8pm and a music device if he had good behavior the
  rest of the day but he wasn’t following the rules at this point and was being disrespectful. He continued to argue with all staff and was yelling. When security told him
to settle down and step back because he was yelling in worker Rivera’s face,              told security to shut up or he would beat the fuck out of him.             then started
   punching the wall including the picture frames on the wall until he broke it in half. We all continued to tell         to settle down and that we would have to call the
   cops because he is destroying property.            continued to yell back and punching the wall and table so security intervened by grabbing               by the shoulders
     guiding him back towards the couch and asked him to sit down. Worker Rivera had already activated the safe signal at this point and was on the phone with law
   enforcement.            fought back telling security to get off of him.          pleaded for workers not to call the cops and he was advised that it was already too late
 because he was breaking things.             then continued yelling at workers and was walking back towards the table where workers sat but security stepped in front of
 him telling him to go back to the couch and away from workers.               then shoved the security officer back causing him to stumble back towards the other wall and
  fall down over one of the recliner chairs. When security got up he pepper sprayed              until         calmed down and sat on the couch.               sat calmy on the
  couch until LE arrived shortly after along with EMS. EMS transported              to Midland Memorial to check on his burning skin from the pepper spray getting on the
 side of his face and neck. Although, these areas were red,             claimed to be fine and said he didn’t want to go but did not put up a fight. Worker Lujan rode in the
 ambulance with             while security and worker Rivera followed. All were present at the hospital. The doctor said he was fine and discharged. Upon discharge MPD




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                                                                                   Description
On 12/24/2022 I,                         l arrived to my CWOP shift from 2pm–8 pm with FBSS Worker Adriana Garcia. The previous CWOP shift briefed us that                      had
   mentioned earlier in the day she might hurt the other child in the home,            . However,         was at the Hospital and             had been calm during the previous
    CWOP shift. However, we were informed that                  was going to the restroom often in the previous shift. We were informed to ask               to come out of the
  restroom if she takes long as she has history of self-harming herself. At around 2:05 pm               was in the living room sitting down and I asked how she was and she
mentioned she got out of behavioral.                  was observed with some bruises on both sides of her face which appeared to be old as they looked yellow/green/blue in
color. I asked her if she wanted to see some movies and she helped me connect the DVD player and put a movie on. While sitting on the couch                          mentioned she
   was hearing voices in her head.              mentioned the voices are getting louder and telling her to kill herself. I asked if she wanted to self harm herself now and she
replied the home has many ways of her to self harm.                 mentioned she can bang her head on the wall or put her head in between the door and the wall and slam
 it.          stated she feels like hitting and bruising herself because she deserves it. I mentioned no one deserves to get hurt. I asked             if she felt she needed help
   and she replied yes. I asked if she wanted me to call someone or if she wanted to go to the hospital and she replied she did. FBSS caseworker Adriana Garcia stayed
 with           while I staffed with on call Supervisor Flor Garza via phone. I explained to Ms. Garza I would be calling the ambulance and she agreed. I called 911 at 2:15
pm and asked for an ambulance for                 as she was having suicidal ideations. FBSS worker Ms. Garcia was walking back and forth in the home with                 trying to
  keep her calm.            mentioned she was in the restroom trying to self harm herself and admit to using a plastic top of a pen and wanted to cut hurt herself with it.
          did give Ms. Garcia the top of the pen. Law enforcement Deputy J Pena #4922 showed up at the home around 2:30 pm followed by EMS and spoke to                            .
          admit to law enforcement and EMS she wanted to kill herself and the voices give her ideas on how to do it. They asked                   if she wanted to go the hospital
  and she mentioned she did. EMS explained they could not transport                  because she did not have any existing injuries. EMS mentioned that the city only has one
      EMS transportation and unless someone is currently injured, they cannot transport and declined to transport                    . Deputy Pena was surprised EMS did not
transport            as she voiced to have thoughts of killing herself and wanting to go to the hospital and he would be writing it on his report. Deputy Pena provided me
a business card with Case# 22-50365. I staffed with on call Supervisor Ms. Flor Garza and explained EMS refused to transport her. Ms. Garza allowed Ms. Garcia and I to
 transport           to the ER. I asked            if she wanted to go the hospital and she mentioned she did.              mentioned she was not ready to leave the behavioral
      hospital recently.           mentioned there is friendly staff there and she likes to be alone. I asked if CPS workers are not friendly and she said they are.
mentioned again she wanted to kill herself. We transported                 to the ER. Ms. Garcia and I arrived at South Texas Health System free standing ER in Mission Texas
around 3:10 PM.               was admitted to the ER. Ms. Garcia and I were there when they took the intake and                 admit to the nurse that she wanted to kill herself.
            mentioned the voices give her ideas how to kill herself but does not know if it is a male or female voice.               admit to the nurse that she has self harmed
 herself in the past.              height and weight was taken and I explained to the nurse of her mental health diagnosis that was listed on her binder.                was taken
  to a waiting room were we waiting for a nurse. A nurse came in and asked how she was and                   stated again she wanted to kill herself and voices were talking to
 her and confirmed she had a plan. The nurse mentioned another nurse would be coming to get blood work. When the second nurse arrived I observed what appeared
     to be scars of old self inflicted cut marks on both of             arms. There were also some recent scarring from what appeared to be scratching on her right arm.
             also went to the restroom to give a urine test. On call CVS caseworker Itzel Marquez came and relived us around 3:45 PM and stayed with                      the ER.




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                                                                              Description
    At shift change, GQ was on the lobby computer. GQ went to the restroom. Worker Lopez got up to keep an eye on him. When he came back, he walked towards the
   elevators. Worker Lopez walked behind him, and he was facing the door, but she could see smoke and then he put a vape pen in his pocket. Worker Lopez asked him
 what he was doing, and he said everybody has problems and walked away. GQ then started walking around the lobby. Worker Lopez followed him. He walked into the
      laundry room for staff and asked him to leave. Security and contractor then came to the laundry room. Security walked in the laundry room and GQ walked back
   towards the lobby. He then took the elevator upstairs without staff. Security stated he could not follow GQ as he only follows the staff assigned to GQ.Worker Lopez
  contacted the lead to see if he was there and she said he was and said floater was walking him back down. Worker Lopez called floater and she said that she was with
  GQ. In the background, Worker Lopez could hear GQ keeping the floater from entering the elevator. Floater had to take the stairs as GQ would not allow her to get in
   the elevator. Floater came down with GQ. When Floater and GQ were walking back to the lobby, worker Lopez observed GQ messing with her. He kept hitting her on
 the head and she kept asked him to stop but he would not. Worker Lopez told him to leave her alone, but he ignored her and kept doing it. GQ looked at worker Lopez
  and asked why he was talking to her and asked that he not talk to her. When Floater left and informed worker Lopez that GQ was given his meds by the lead when he
was upstairs. GQ was now walking around and then took his football and walked outside. Worker Lopez moved to the front so that he can be observed from the lobby.
        GQ finally came in and said that he wanted to go to his room to get something. Worker Lopez asked the contractor Winchell McKinney and security Wickliffe to
   accompany him upstairs as worker did not feel comfortable being alone with him. Hey went up and quickly returned to the lobby. GQ is now playing a game with the
   contractor. Worker Lopez remained by the window where she was able to observe GQ.Around 7:45pm, GQ then came to sit with worker Lopez. He apologized to her
   for being rude to her earlier. He said he was mad the worker said no to his sexual advances the other day. Worker Lopez informed him that he was a child and it was
inappropriate. He kept making sexual advances at worker Lopez and she asked him to stop. He then took worker’s shoe and refused to give it back. Worker was able to
       retrieve it. Security observed GQ doing this and did not do anything. GQ then became aggressive and stepped on worker’s foot. Worker told him to stop and he
       continued to try stepping on worker's foot. Worker became upset and walked away to sit in another spot. He then came to worker and started antagonizing her.
     Worker asked him several times to leave her alone. He attempted several times to lift the chair she was sitting on. Security asked him to stop but did not physically
intervene. He attempted to grab worker’s things and worker moved to another area; he followed. GQ continued to antagonize worker and to grab worker’s belongings.
  Security told him to leave worker alone. GQ grabbed worker’s personal phone and refused to return it. Security asked for it but he did not return it. He held it out and
      worker asked security to just grab it from and so he did. Worker walked away and GQ continued to follow her asking what was wrong. Worker asked that he stop
 following her and he refused. GQ then told worker to call her son so he can beat his ass and kill him. Worker Lopez walked away and ignored him. GQ then said that he
 wanted to go to his room, but worker Lopez could not come. GQ said he was about to pop off. He said that he never hit a female but that was going to change tonight.
     Worker Lopez contacted lead and asked for assistance. The lead attempted to talk to him and was able to keep him away from Worker Lopez. She remained in the
  lobby and sent an email to primary worker and supervisors. Around 9:33pm, primary worker called GQ to talk to him. GQ became upset after the call and went up the
     elevator. Contractor, lead and security went upstairs to find him. He then returned downstairs. Worker Lopez remained in the lobby. He was mumbling to himself
 saying ‘all for stupid shit’. Hotel manager was present and he told her that he was going to hurt somebody if they say anything to him. Worker Lopez informed Lead he
  was in the lobby and they returned. GQ then came up to Worker Lopez asked her if she had a problem they can squash this outside. He said he doesn’t care if she was
    a female he would hit one Worker Lopez ignored him and moved aw               m him Security asked GQ to leave worker alone but did not keep him f          ming up to
   On 12/8/2022, I arrived at my CWOP shift at the above location with             . Nurse Melanie was present to administer medications and insulin for        . Her blood
     sugar was tested and levels were at 422. I was on the phone w/her primary CW at the time and provided an update. She advised we contact on call PD for further
   advise. I contacted on call PD who advised to contact EMS. EMS arrived at 8:40PM and took               vitals. Blood sugar levels were at 465. EMS advised transport to
                                                  hospital.         agreed willingly and transported to hospital with no issue.


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                                                                                    Description
  On 12/06/2022, caseworker arrived to 6pm-12am shift and a large amount of water was observed on the floor in front of the washing machine. The 12pm-6pm shift
   lead Vivian Linares informed staff that earlier, when                       returned from runaway, she asked                        to move her clothes from the washer to the
  dryer multiple times and             did not.         then moved             clothes from the washing machine into the dryer and per Arianna did not turn the dryer on and
          put her clothes in the washer.            then came out of her room and was upset that                  did not turn on the dryer and should not have touched her clothes
   and took all of            clothes out of the washer and dumped them all over the floor.                 then came back and dumped all of                clothes in the water from
     the washer and put her clothes back in the dryer. When the 6pm shift arrived,                 was in her room showering,               was in her room, and            was doing
 work on the computer in the common room. About 6pm,                     walked out of her room and saw her clothes on the floor in the water and went into                      room.
              told          she was about to go and she left.           was gone for about 15-20minutes and runaway call was made.When                        returned,          and
              talked in            room again and then            came out and took              clothes out of the washer and threw them outside and tossed them in the air
 laughing. Caseworker asked             h to stop and          would not.          came into the common room side with the washing machine and                       was egging
on by asking what was she going to do and calling her small and telling                to come "beat her ass then.”              was standing off to the side also egging on the fight
verbally and egging             on to fight        . Caseworker, HSTs, Admin, and Lead were all standing in the middle of the girls trying to diffuse the situation.                and
              were asked multiple times to go to their rooms and              was asked multiple times to go take a walk. All three of the girls were yelling at each other and
     hurling insults at each other.          then picked up a Chick-Fil-A cup and hurled it at            . It did not hit        and then           went after         .        was
     holding her hand in a fist like she was holding a tattoo needle but no weapon was observed.                    hit        with her fist and the girls began to fight each other.
            got involved in the fight and went after          . At one point          was being punched, slapped, and kicked by both                 and          .         was able to
  exit from the fight but            had clamped down on               forearm and refused to let go for almost 2 minutes. There was a mark to                      arm of teeth marks
       but no breaking of the skin and no bleeding was observed. When                finally let go, all of the girls were asked to go into their rooms. Pictures of the injury to
                arm was taken and attempts to diffuse the situation were made again.                 then went over and kicked the door to                 room, where           was
inside with the door closed, and              came out and then           and           went after each other again.             and         a were kicking and punching and slapping
 each other again and when               stood up to walk away,           kicked her in the face one last time. No injuries to               face were observed. Pictures of
      back were taken which is covered in red marks but there does not appear to be any blood or broken skin.                     informed her neck was sore from her hair being
    pulled but no blood was observed on              . Bruising and some broken skin was observed on the underside of                    left bicep. Law enforcement was called at
   6:26pm during the fight. PD on call was notified at 6:33pm. At 7pm,                began to verbally threaten staff and said that staff members were not doing anything to
help. At 7:05pm,                primary worker was notified of the injury and while caseworker was talking with primary worker,                    said that caseworker was about to
 “end up like that little girl over there” threatening to harm caseworker in the same way she fought with Amaya. At 7:08pm, law enforcement was contacted again and
 they informed they were in route. At 9:05pm, law enforcement was contacted again and they informed they needed to find an officer to come out because they were
     dealing with other matters. At 9:45pm, law enforcement was contacted again and the calls were merged. Law enforcement informed the call has been holding for
       awhile and our call should be answered soon. No tentative time was given. At 10:15pm, law enforcement arrived. Lead and caseworker Hairston spoke with law
enforcement and gave them information about the situation. Officers McNeal and Pabon were the officers on scene. They asked if the guardian would have any objects
    to arrest and caseworker called PD on duty Tambra Miller who said there were no objections EMS Fire Rescue also arrived to the scene about 10:25pm Dallas Fire




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                                                                                 Description
  At approximately 10:30pm,            returned with other youth            from runaway status. Both youth went to              room, and staff asked the two to separate as
they knew they were not supposed to be in one another’s room.                   went to the kitchen to make a snack and           followed shortly after. As she was waiting for
her food to finish,          asked staff who the shift lead was and I let her know that I was. She stated that she wanted to know who took the television out of her room.
I let        know that the television was removed while she was on runaway status, and that her behavior did not warrant a television. She then stated that she would
break into the caseworker closet and retrieve the television. She walked over to the caseworker room and opened the door, and took the television out of the room to
plug it up in her room. The worker assigned to            walked to her room door to get the television back and            slammed the door in her face. I got up to go in the
 youth’s room to retrive the television, and           stated that if the television is touched she would fight. As I was unplugging the television,         attempted to grab
 the television out of m y hand, and additional staff intervened.            got upset and hit the television screen while it was in my hand. I then stated that she damaged
    the television, and now no one has a television. She became very upset and threatened to spit on me and know my personal belongings over. As I approached the
   caseworker closet to put the television in the room,          walked by my things and knocked my work laptop off the stand onto the floor, threatened to spit on me
 again, and became physically aggressive while doing so. I put the television in the closet and proceeded to call 911.              then went to her room to contact police as
well. After her phone call, she opened her door and threw the television remote toward where the floater (Scarlett Cavazos) was sitting. The remote shattered.
     began using explicit language in her room, threatened to fight me at shift change, and repeatedly came out of her room using more explicit language toward all
 caseworkers present. She then threw the food she was eating down on the floor and her food went everywhere. Afterwards she barricaded herself in her room using
     the dresser, as staff could hear her pushing it toward her door. By 12 midnight police had not arrived, so th             ng shift lead was briefed about the incident.
  At the start of the shift, the previous worker, Karina Rivera, notified me that someone was coming to pick up                because she was under the influence of meth,
hasn’t slept in 3 days, and was having “female problems.” Karina also explained that                has been ok for the most part but was talking a lot and she appeared as if
 she under the influence. At about 4:30 pm, Frenchie and                walked to the front.           was carrying a makeup bag with her.             asked if she can call her
 worker, Jeremy. I dialed the number and held the phone on speaker while she talked to her worker. She began to tell her worker she needed to go to the hospital for
 her female issues. He stated they were looking for a female worker to transport her. I noticed she was picking and scratching her vaginal area often. She was jumping
   from one subject to another while she was on the phone with him. She would start a sentence, not finish it, and start another sentence. She was apologizing to him
   often and stating its because she is not herself because she was high and hasn’t slept. She began to threaten that she would kill everyone at the Castroville office if
    they switched her worker. As she went into room 123 restroom, I walked over to the police room 121 to notify them that she stated she had drugs in her bag. The
 police office walked to 123, knocked on the restroom door, and asked if she was ok. She opened the door and began to wipe her arm at the sink then walked out. The
    police officer, Frenchie and I began to follow her. At about 4:45pm the police officer stated for me to call 911 as the blood was dripping down her arm. The police
   officer found a broken hard plastic ring that belongs to a plastic bottle top that Dymond may have been using to cut her arm in her make up bag. They also found a
paper with a number and name (956-373-4563 George). I immediately called 911 to explain the situation. EMS arrived and assessed her. They cleaned up her cuts and
 bandaged them. EMS asked me what happened, and I explained to them. EMS stated this was not serious enough for them to ED her and take her by EMS. I explained
how she was unstable. They stated she may be unstable because she has not taken her meds. I observed                      to be foaming from her mouth, arching back, jolting,
and her eyes rolled back. The police had already called for EMS to return. They were also trying to get the handcuffs off of her and lay her on the floor. They attempted
to place             on her back on the stretcher but could not because of the way she was jolting. She ended up on her stomach with her head hanging off the stretcher.
 The paramedics stated they were taking her to CHOSA. The last update received regarding                    was that her cuts were not fresh and they would not be admitting
                                her They were going to allow her to sleep since she had not slept in several days Dymond remains at CHOSA



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                                                                                 Description
      Collaborative account by Celica Monegan, Lead; Nicole Adams, Caseworker and Minnesha Fridie-Scott, Caseworker Paris was moved from Homewood Suites to
  SpringHill after being kicked out. When          arrived at Spring Hill she was mad and wanted to go back to Homewood Suites and said she was going to get kicked out
   the SpringHill so she could go back. It was explained to her she cannot go back to Homewood. At around 7:11pm                mood became to change from being upset to
  being coming aggressive. They got on the elevator and            got in Minnesha’s face several times screaming and wanting to fight.           put both of her fist up and got
     very close to Minnesha’s face and was calling her “bitches” and stating “do you wanna fight,” “what’s up, what’s up.” Minnesha put her arm up to put a distance
between her and           .      got off the elevator to get something out of her room. Once they got back into the elevator, she tried to hug on worker Minnesha and say
she was just playing. Nicole asked          not to do that and that is not a way to play. Minnesha told her we’re not going to do all of that and please back up.           began
   to get upset because Minnesha established more firm boundaries between her and                 . Minnesha informed the lead and the officers on duty of the situation. The
floater and the lead were tag teaming supervising Paris. 7:33 returned into the hotel with             yelling and cursing the whole time. The girls sat near the bar area of the
    hotel. 7:56pm         walked to the computer lab, dug through the stationary. She then returned to the bar area with Elizabeth. 8:20pm               requested to go to her
 room but refused to let worker Minnesha on the elevator and continued to be very aggressive toward her.                 ran around the hotel and evaded staff. There was bag
     of dirty clothes sitting outside her room for the trash and         took to the parking lot and threw it in the road. 8:30pm        filled the ice bucket with water and
wanted to put fire out but a couple were sitting at the fire pit. Paris was loud and disorderly in an attempt to get couple to leave the fire pit area. Said she was going to
   get “hood” and “ghetto” so she could get put out of this hotel in order to go to Pearland. 8:35pm             wanted to go to her room but then turned around and went
   back outside picking up rocks. Clapping the rocks together. Caseworker warned other staff about her having rocks. Dumped water to put out fire on the fire pit. The
    hotel stated that they would need to do a report about putting the fire out. 8:40pm             got back on the elevator screaming into the lobby. Back and forth on the
 stairs, to the room to the lobby. Evading staff. 8:52pm Celica Monegan, Lead contacted on call Supervisor Ebony Love and provided her and update of what was going
   on. I let her know our security felt       was a threat to herself and others and they called for a psych consult. 8:55pm staff with         s followed her and used text to
 communicate her location of child to make sure she remained in sight.              asked to go back in room. Staff prevented her from shutting herself in the room. She was
   in the room with lead and worker. She tried to lock additional staff from coming into the room by standing in front of the door. She then left out of the room again,
    dragging furniture out into the hallway. Staff buzzed her in with the room key.          pushed past staff and tried to lock herself in the room. 8:57pm Minnesha and I
   were in the lead room when Minnesha received a call from Ozzie stating we needed to come to the room (325). Minnesha and I ran to the room and I observed the
  ottoman, the desk chair and side able in the hallway. Nicole Adams was in the hall and said she blocked the door. When               saw security walking towards the room
she took off towards the stair but went in the room with ice machine. She tried to get ice out the ice machine but it did not work. We walked up the stairs the 4th floor
and she began throwing ice all over ice machine room, hallway, and stairwell. Myself, and Nicole were is the stairwell and              started yelling at Nicole saying she was
    standing to close to her. We then walked downstairs and went back in the room.              put the desk chair in the hallway. She closed the door and locked Nicole and
    myself in the room with her. Security Hawkins and Johnson knocked on the door and                would not open the door. I asked         to please open the door and she
   walked toward the sleeping area standing between both beds. I then opened the door and Hawkins and Johnson came in and told                      to put her hands behind her
back and she refused and resisted which resulted in a scuffle. She was fighting the security officers.           yelled she was going to grab their gun and reached back.
    was screaming and cursing at security staff as well biting an stilling at them 9:08pm Nicole Adams called 911 to request more help                continued to aggressively




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                                                                               Description
   Details of Incident 6:20PM–Previous 12p-6p CWOP shift staff, Deidra Phillips, was in the hotel room documenting an incident that took place at the end of the 12p
   shift. G’Q was talking to the incoming CWOP staff. G’Q then escalated and began cursing and trying to touch Ms. Phillips’ computer to close it. Security warned G’Q
  multiple times to leave Ms. Phillips alone. G’Q would not listen and continued to say that Ms. Phillips needed to leave the hotel room. Security advised G’Q that Ms.
 Phillips would leave when she finished her work. Child kept saying that she needed to leave and kept coming toward staff. Security stood between child and staff and
  continued to redirect him. G’Q used profanity with staff and continued to call her a snitch and a bitch. It escalated to the point that G’Q and security fell to the floor
  breaking a chair and breaking security’s glasses. Security had to handcuff G’Q. G’Q continued to threaten the staff saying he would “kick her in her shit” and pull the
       weave out of her hair and take her shoes and slap her. He called her a bitch, hoe, and a snitch continuously. Security took him out of the room but kept him
   handcuffed. Police were contacted and Cedar Hill PD arrived to the hotel. They took statements from staff. Police arrested G’Q and transported him to the Desoto
                                                                   Police Department. Case# CH221216009
  Upon arriving to the shift, shift workers from 4–8PM (Eleithia Hill and Rosita Gill) were on the phone with             primary caseworker Lesley Cassidy regarding the
 nurse not having arrived as originally scheduled. Nurse is currently being utilized to administer           insulin of which it is my understanding that she was supposed
    to have arrived around 7:30PM. Staff was informed that              had been provided outside food by the prior shift. It was also noted that during the 4–8PM shift,
            ate cantaloupe and some sugar free candy.            did end up eating some more cantaloupe during the shift and soon after tested her levels of which was
around 8:30PM. Levels were at 445. Lesley was contacted during the shift allowing             to speak to her of which her caseworker was talking to            and consoling
   her about the whole situation. The PD on call Monica Mata was also contacted regarding situation.               had expressed that she was hungry and that the food of
 which St. PJ had provided was not tailored to her. The nurse arrived around 8:45PM of which              at this time expressed that the insulin and the other medications
 she takes were not going to do anything for her and that her numbers were going to continue to be high. The nurse spoke to                 about her eating habits having to
  change and not listening to directions was a concern.           was rude to the nurse but she eventually did take the insulin and medications. Around 9:25PM,
   expressed that she didn’t feel good and that her stomach was hurting and her face was hot. PD and worker were notified about this situation.                continued to
express that she was hungry of which options were offered to her from what was available in the room.                ended up eating pineapple and watermelon along with
     sugar free ice cream. She was informed not too eat it because of how sugary the items were of which she ignored what was told to her.                express around
   10:30PM that she felt weak and that her whole body was feeling warm. PD and Lesley were notified that we were going to be calling EMS to have her checked out.
 EMS did show up around 10:45PM and transported                to Methodist Children Hospital. EMS stated that they had been out to the help             around 6 or 7 times
  this week already. Erica went with           in the ambulance and I followed.          was given IV to low          oods su            was advised to drink water; not eat
  I arrived at CWOP at 8:00PM and w           rmed that the contracted nurse ha         come to administer             meds.            caseworker requested for Mariah to
  check her sugar level around 8:23PM, which read high at 464. I asked caseworker Leslie if I could administer               oral meds. Caseworker Leslie said yes.
 consumed 2 Metformin at 9:21PM along with a sub sandwich. On-call Program Directed Monica Mata directed caseworker to call EMS. EMS arrived between 9:20PM
     and 9:30PM. EMS reported that Mariah’s sugar levels was at 486. EMS transported               and caseworker to Methodist Children’s hospital and the contractor
   followed. Arrived at the hospital around 10:00PM. Doctor talked with              caseworker.           was given her insulin and she was put on an IV. Once her sugar
                                                    levels were within normal ranges she was released from the hospital




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                                                                                     Description
  On 12/06/2022, caseworker arrived to 6pm-12am shift and a large amount of water was observed on the floor in front of the washing machine. The 12pm-6pm shift
   lead Vivian Linares informed staff that earlier, when                       returned from runaway, she asked                          to move her clothes from the washer to the
  dryer multiple times and             did not.       a then moved             clothes from the washing machine into the dryer and per                    did not turn the dryer on and
          put her clothes in the washer.            then came out of her room and was upset that                   did not turn on the dryer and should not have touched her clothes
   and took all of           clothes out of the washer and dumped them all over the floor.                   then came back and dumped all of                clothes in the water from
    the washer and put her clothes back in the dryer. When the 6pm shift arrived,                  was in her room showering,                 was in her room, and           was doing
 work on the computer in the common room. About 6pm,                     walked out of her room and saw her clothes on the floor in the water and went into                       room.
             told          she was about to go and she left.            was gone for about 15-20 minutes and runaway call was made. When                       returned,          and
             talked in            room again and then             came out and took              clothes out of the washer and threw them outside and tossed them in the air
 laughing. Caseworker asked               to stop and          would not.          came into the common room side with the washing machine and                        was egging
on by asking what was she going to do and calling her small and telling                to come “beat her ass then.”                was standing off to the side also egging on the fight
verbally and egging             on to fight        . Caseworker, HSTs, Admin, and Lead were all standing in the middle of the girls trying to diffuse the situation.                 and
             were asked multiple times to go to their rooms and               was asked multiple times to go take a walk. All three of the girls were yelling at each other and
      hurling insults at each other.          then picked up Chick-Fil-A cup and hurled it at             . It did not hit         and then           went after         .       was
    holding her hand in a fist like she was holding a tattoo needle but no weapon was observed.                      hit        with her fist and the girls began to fight each other.
            got involved in the fight and went after          . At one point          was being punched, slapped, and kicked by both                   and         .         was able to
  exit from the fight but           had clamped down on                forearm and refused to let go for almost 2 minutes. There was a mark to                       arm of teeth marks
      but no breaking of the skin and no bleeding was observed. When                 finally let go, all of the girls were asked to go into their rooms. Pictures of the injury to
                arm was taken and attempts to diffuse the situation were made again.                 then went over and kicked the door to                  room, where           was
inside with the door closed, and              came out and then           and           went after each other again.               and          were kicking and punching and slapping
 each other again and when               stood up to walk away,           kicked her in the face one last time. No injuries to                 face were observed. Pictures of
     back were taken which is covered in red marks but there does not appear to be any blood or broken skin.                        informed her neck was sore from her hair being
    pulled but no blood was observed on              . Bruising and some broken skin was observed on the underside of                      left bicep. Law enforcement was called at
   6:26pm during the fight. PD on call was notified at 6:33pm. At 7pm,                began to verbally threaten staff and said that staff members were not doing anything to
help. At 7:05pm,               primary worker was notified of the injury and while caseworker was talking with primary worker,                       said that caseworker was about to
 "end up like that little girl over there” threatening to harm caseworker in the same way she fought with                     . At 7:08pm, law enforcement was contacted again and
 they informed they were in route. At 9:05pm, law enforcement was contacted again and they informed they needed to find an officer to come out because they were
    dealing with other matters. At 9:45pm, law enforcement was contacted again and the calls were merged. Law enforcement informed the call has been holding for
      awhile and our call should be answered soon. No tentative time was given. At 10:15pm, law enforcement arrived. Lead and caseworker Hairston spoke with law
enforcement and gave them information about the situation Officers McNeal and                      were the officers on scene They asked if the guardian would have any objects




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                                                                                   Description
Worker Monica Tobias went to the bathroom and exiting bathroom Worker Tobias observed Youth K.A (15 year old) at the elevator with Protégé Cinthya Cruz. Worker
 asked what was going on and was informed that K.A and Cristian got into a verbal argument after Christian was spraying air freshener in the room. K.A told                       to
   stop and              continued.            was reported to have gone to the stairwell and down the stairs. Security officer was with him, and                 was observed to
 walk back into the hotel.               was stating that he was going to have his “homeboys come” and “contact his homeboys” to come and beat K.A up. Protégé Cinthya
          also reported that after            sprayed the air freshener, he stated that he had smoked at the park earlier today.                and Protégé started talking about
   career goals and Protégé was telling him that in order to join basketball team or do activities he can’t be consuming drugs.                  got more aggressive and dropped
  his tablet. K.A then stepped on it and broke it and this got              more mad. This is when K.A. and             started wanting to get physical and Protégé attempted to
 stop them from fighting. This is when                left the room. Worker Tobias attempted to get               back upstairs and worker and             entered elevator and K. A
and             continued verbally arguing. Security officer assisted in separating the south however                 lunged toward K.A and hit K.A. The physical fight occurred in
      the hallway on the 4th floor of the hotel.            injured his right ring finger in the process and it started bleeding. K. A returned to hotel room with Protégé and
              went down the elevator as security officer followed.               became more agitated and stating that he was going to kill K.A. Security restrained him on the
  first floor of the hotel hallway until SAPD arrived to assist.            was kicking and resisting security officer. PD Monica Mata was called at 9:15PM and notified of the
  physical and verbal altercation between the youth. SAPD was notified at 9:16PM and arrived at the hotel at 9:24PM. K.A and Protégé met them outside. SAPD placed
               in patrol car to get statement of what happened from Worker Tobias and Security officer.                   began hitting his head on the window of the patrol car
    repeatedly and SAPD ended up removing him from the car and restrained him on the ground. SAPD was attempting to get him to calm down.                            began stating
      when in the car on on the ground that he was going to kill himself.               during the entire incident has being rude and disrespectful to staff as well as to SAPD
   officers. Worker Tobias did report to SAPD that               informed protégé that he did smoke at the park earlier today.               was reporting to SAPD that he did not
     smoke and reported he last smoked synthetic marijuana yesterday. First responders arrived on scene to take                       vitals and ambulance was called due to his
 aggressive behaviors. SAPD stated that they were going to emergency detain him.                     remained sitting on the ground while vitals were taken. When restrained to
 the ground              was banging his head on the ground and SAPD were trying to prevent this.                   does have scrapes left cheek. It looks more like road rash from
scraping his face on the ground. SAPD report was made and                    is being transported via ambulance to Northeast Baptist Hospital located at 8811 Village Drive, San
   Antonio Texas, 78217. Worker Tobias and Protégé Cruz needed to wait at hotel until on call staff came to pick up K.A. as he was being moved to a different location.
  Worker Tobias and Protégé were able to leave hotel to meet SAPD at Northeast Baptist at 10:42PM and arrived at 10:53PM.                          is in Emergency room in room 8.
   Primary caseworker’s information was provided to hospital and Worker Tobias and Protégé Cruz waited at hospital until next shift arrived.                     was changed into
        hospital clothes and was waiting to speak to doctor to come and evaluate him. Worker Tobias and Protégé Cruz were informed that when Cristian arrived to
        emergency room he was being very rude to staff and cursing out loud. Hospital stated that they were waiting for doctor to access in order to see if he will be
transferred to a psychiatric hospital for admission. Doctor spoke to                 and he denied wanting to harm himself or others. Attending doctor for              at Northeast




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                                                                                Description
  At 10:48am, staff Evelyn Vasquez notified the team saying          left out the room and they could no longer see her. Lead, Celica Monegan and Floater Tierra Johnson
 went downstairs to assist in trying to locate her. At 10:53am I contacted On Call Supervisor Nicholas Clark to let him know           left the premises and that I would call
 Conroe PD to report her as a runaway. At 10:58am I contacted Conroe Police Department to report               as a runaway. At 11:12, staff assigned to       reported they
 could see her walking back to the hotel. Law enforcement arrived at 11:23 and she was back at the hotel. Staff took            to her room. Law enforcement and I walk to
   lead room and while there          packed a backpack, she says she got from the Rainbow room in Conroe and left again. Law enforcement started running down the
hallway. On Call Supervisor was notified again she left. While on the phone staff stated         had picked up a large lock. Law Enforcement and staff follow behind her at
 a safe difference.        put the rock on the table and sat at the tables outside and the officers went and spoke with her. Law Enforcement walked us all into the hotel.
        told the officer she wanted to give them something. Law Enforcement asked staff to stand back. Law Enforcement retrieved a kitchen chopping knife from her
 backpack. On Call Supervisor was provide updated information as to what was going on and a picture of the knife was sent. Officer Hawkins took the knife to Walmart
to return it see if they see her on the video.       pulled me aside stating she just wants law enforcement to just take her juvie she is not afraid. I explained I cannot just
tell them to take her I cannot just tell them to take her to juvie. She left out the back door to talk to law enforcement, They told her they cannot just take her to jail. At
  12:12pm, Officer Hawkins sent a text stated          had not been in Walmart today. Officer Hawkins then went to Kohl’s. Per staff they recognized           and when the
 pulled the video        was seen taking the knife off the back wall and walking out the store. Staff sat with       in the lobby for about 30 mins until she returned to her
                                   room. It is unknown when set         off. She was fine one minute than her behaviors started to escalate.




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                                                                                  Description




  Tension was already there when we arrived.          was in the lobby when 12am staff arrived. Staff told            we could not have one staff downstairs and one upstairs
because we would be out of ratio. When we arrived to the security/staff room              thanked the cw for talking with her and then went to their room.              stayed in
   the security/staff room to speak with staff. When staff got up to check on          she had just came out of the restroom and was boiling water for Ramen noodles.
Staff started to smell smoke we went to check to make sure everything was ok and to make sure the vent was on which it was and then                    had said earlier he set off
the smoke alarm because the air vent wasn’t working properly so he went in to their room and moved a box with a suitcase up against the door to prop it open so the
  air could flow to prevent the alarm from going off.         told      to close the door and to take her pretty ass to the next room and then              said thank you I am
  pretty and stepped up to          and then          with both hands pushed         and then after that           went at her but I cannot recall who threw the first punch it
 happened too fast and they fell on to the bed and then rolled off to the floor that is when CW and Security came in to separate the girls. Once separated                  went
 for a walk with the officer, CW was attending to        who was on the floor having a petit mal seizure and support staff got on the phone to phone PD On Call Monica
   Mata to advise of the situation and that’s when Monica asked does EMS need to come out so I asked                  and he said yes he would like to be checked out. I called
    Non Emergency who then connected me to EMS. Both EMS and SAPD came out. EMS said vitals were normal blood pressure was a little high but that is due to his
meds he takes.         complained about his wrist hurting and they advised to go to a clinic if it is still hurting in the morning. SAPD took reports.        stated he wants to
                                           press charges. After confirmation of incident             was arrested and taken to jail.




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                                                                                Description
W arrived to hotel and asked           if she wanted to take her meds.        ignored CW and asked for Gabby. Lead contact CW to inform her that Gabby was running late.
CW informed previous shift worker that Gabby would be late. Previous shift staff handed CW the room key.                tried to snatch the key from CWs hand. CW held on to
   the key and did not let        get the key.      then became upset and started cursing at CW and putting her hands in her face. CW ignored                    continued to
     position herself in front of CW when other staff was talking. Officer Phillips entered the lobby and tried talking to        to redirect her attention.      made rude
     comments to Officer Phillips and continued asking for Gabby. Officer Phillips responded to           comments and           made threats towards the officer. She then
    leaned over the front counter and retrieved a pair of scissors.        approached Officer Phillips and threatened to assault him with the scissors. The front desk lady
      tried to approach       and asked for the scissors.      then turned towards her with the scissors. Workers asked the front desk lady to not get involved. Officer
 Phillips and Officer Rodriguez then proceeded to retrain         .       was taken to the floor in the hotel lobby by the officers.       dropped the scissors in the midst of
 the shuffle.        continued making threats towards officers and asked for CWs assistance. CW contacted lead worker to inform and was instructed to contact Conroe
  PD. Officers were able to handcuff          and take her outside to sit on the bench in front of the hotel. While waiting on Conroe PD,          was able to bring her hands
 from behind her back to the front of her. She then took off running from the hotel and across the street. Workers and officers walked to the end of the driveway and
    watched         walk handcuffed across the street and into the parking lot of Chili’s. Conroe PD arrived and were directed to Chili’s where          was. Once        saw
 Conroe PD she picked up a hammer and a drill from the side of Chili’s. Officers got out of the car with guns drawn. Workers yelled for              to put the weapons down.
                     refused. Several police cars continued arrived and drawing weapons towards            .      eventually laid down and officers arrested her.
  At around 11:00PM, my coworker informed me that                 was in bed crying and since I had rapport with her go in and check on her. I went in and began talking to
her asking what was wrong. She didn’t talk to me but when I asked her questions she was nod and shake her head. After about 5 minutes she stopped responding and I
 noticed she was shaking but I couldn’t see her face. Once I moved the cover, I saw her tongue sticking out and she was shaking some more. I asked the cop to come in
  and observe what I saw, soon as he walked in she feel out of the bed and I told the other worker to come in and assist. I went to call 911 for an ambulance to assess
her. After that I called on call supervisor Ernesto and followed up with, PD Monica Mata. The ambulance came and assessed her in the mist of the assessment she had
  a really bad seizure and they decided to take her to Methodist Children Hospital. Child was taken in the ambulance where she had 2 other seizures and was provided
medication to help with seizures until worker and child arrived to the hospital. Once in the hospital, they took her vitals and asked the child questions. She was not able
 to respond to many questions due to her being in and out consciousness. The doctor spoke to case worker and asked her what had happened. Case worker informed
 the doctor of the incidents that occurred in the hotel. Doctor said she would be running tests and provide the medication that she did not take at CWOP. They would
                                          be keeping her for observation and to run tests once the medication they provided wore off.




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                                                                                  Description
On 12/22/22 at approximately 6pm                  asked the incoming worker to let her use her phone to listen to music (previous worker had allowed her to listen to music
on her phone) Workers explained that they were not allowed to let her use their phone and would be needing it for work.                       then becomes belligerent and walks
     out of the room. Workers and security officer follow her downstairs.               is sitting in the lobby and when she sees workers she tells them to leave her alone.
  Workers attempt to explain that they need to keep a line of sight on her at all times but                 ignores them and walks outside. After a few minutes she walks back
     and inside, goes in the lobby restroom and starts hitting the walls. She comes out and tells workers that she does not want them going inside her room. Workers
attempt to deescalate and explain that they have to go inside the room with her. While in the elevator, she begins to banging her head on the wall. Workers follow her
     and when worker Runnels proceeds to open the room door,                   attempts to hit her and begins to threaten her. The security officer intervenes and stands in
  between worker Runnels and               .          continues to threaten worker Runnels stating that she is going to beat her up and attempts to physically assault her.
     Officer Donnell intervenes and attempts to deescalate. He speaks to               in a calm manner and stands between her and worker Runnels.                    then grabs
workers laptop and personal items and throws them on the floor. She breaks worker’s laptop. Workers immediately notify lead that the situation is escalating, and lead
    arrives in the room to attempt to deescalate. 7pm-Lead comes and speaks to                   .           requests to call her primary worker, Tiffanie Carroll because she is
                       he hospital.          is speaking to her worker and asks to go to the hospital. Her primary worker asks that she be transported to Hickory Trails in
                       started to a        ge around 7pm. She appeared drowsy, and was shuffling around and not moving normally. She locked herself in the bathroom
and AJ, her roommate raised concern for her stating she has been self-harming and the other caseworkers have not believed her. CW Laura Stevens had                            open
 the door and she was on the floor.              followed CW into the other room saying she couldn’t breathe and she sat down and put her head in her hands and started
breathing heavily. She got up and stated she wanted to be locked in the bathroom. AJ didn’t want                     to be alone and CW stayed with             .          repeated
  she was having an anxiety attack and then collapsed into CW arm. The two CW could not get the safe open so CW Laura Stevens contact PD Tara advised to call EMS.
    CW held            and tried to get her to wake. Officer advised the drop test, where I drop her arm on her face to see her reaction. It fell softly on her face she was
  partially awake. EMS arrived and she was startled awake by them twice. We were able to get the right code and provide                      with her nighttime meds. EMS took
   her vitals and everything came out fine. They asked              again if she had taken anything and she said no. EMS left and CW and officer were able to get
                into bed where she continued to breath heavily on and off. She then moved to the room where the CW are and was able to fully calm do
            complained that her blood sugar was high (400) after her insulin dosage, administered by the nurse. Primary worker Lesley Cassidy spoke to                     on the
   phone to explain that it will be high when insulin is first administered. Staff contacted EMS to check her vitals and sugar levels and it was reported by EMS that they
 were all within normal range. Staff asked            if she would like to go to the hospital and EMS would transport, however,                did not want EMS to transport, she
 wanted one of the staff on site to take her. She began yelling and screaming obscenities at the worker on shift and EMS personnel. Program Director Ida Pierce, spoke
 with the EMS personnel, who reported he was not worried about her levels, however, couldn’t state that she did not need to go to the hospital.                      proceeded to
  lock the staff and EMS out of the room, however, when the police officer arrived, on shift (within 10 minutes) she opened the door. On-call staff were dispatched to
    take her to the Children’s Hospital of San Antonio.           refused to do bloodwork at the hospital, and it was reported by the hospital staff that               had been
                            there two days earlier for the same thing.            was prescribed Miralax and nausea medication and was discharge.




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                                                                               Description
           was present upon arrival of 6pm to 11pm shift.            was sitting in the common area watching music videos and talking on her cellphone. At approximately
   7:15         asked caseworker to call supervisor Yolanda Jenkins regarding any update about her flight to Ohio to visit her aunt; worker called Ms. Jenkins but no
response and worker then left a message.            then asked worker to call the cwop on call supervisor Ms. Smith. Worker spoke with Ms. Smith and informed her that
          wanted information regarding her flight to Ohio, Ms.Smith mentioned that              had already spoken to her primary team earlier in the day and she had no
   new update. Caseworker attempted to explained to              to wait until in the morning to speak with her primary team regarding being able to visit with her aunt
 because they would be able to answer all her questions.            then stated that Ms. Jenkins mentioned that she would be able to leave today to Ohio at 4pm and no
 one had followed up with her.          then got very upset and started to destroy the hotel room. Both workers attempted to calm              down, but she refused. She
 then mentioned wanting to be taken to the psychiatric hospital and if she was not taken to the psychiatric hospital that she knew the combination to the medication
    box. She also mentioned wanting to cut herself.           was yelling to the top of her lungs, and started to punch the walls, and throwing items across the room.
  Caseworker Ms. Gamboa then called the crisis hotline but            refused the call.        then flips the table where working was sitting and stated” didn’t I tell you
 that I didn’t want to speak with the crisis hotline”. She then proceeds to pull the television off the wall, through the television remote against the wall, almost hitting
 Ms. Lewis. She crabbed the end table through it cross the room and broke the lamp. At approximately 7:45pm worker Ms. Gamboa called law enforcement and they
  arrived 15 minutes later.         was handcuffed and taken down to the police car; once outside the officers stated that             would be transported to St. Joseph
  Medical Center. Workers followed behind the police officer’s vehicle. At the hospital           refused medical attention, stating that she wanted to be taken to Texas




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                                                                                 Description
   Teen said he wanted to get out the room. Teen walked out the room with staff (both) following him. Teen stopped in the lobby area. Two minutes later Teen walked
     back to the room. Teen turned around and walked back out the room and is walking around in the laundry room and weight room. Teen at 6:55 pm walked out the
  side door of the building. Teen walked around the building returning at 7:04 pm to the lobby. Teen is watching TV in the lobby area. Teen got up and ran out the lobby
    and back to the room. He locked the door. I knocked on the door and the teen opened the door. 7:14 teen locked staff out the room. Staff went to front desk to get
 them to open the door. Staff did get new room keys and the old key was deactivated. 7:16 front desk staff opened the door. Teen is now calling his family to come pick
  him up and jump workers. 7:18 teen slams phone down and walks out of the room and walked into the lobby. Teen turned around and walked off. Teen walked down
    the hallway and turned around and said, “He is bought to get jumped on and he needs to stop following me”. Staff followed teen and watched him walk outside the
hotel lobby door. Teen is sitting in front of the building. Teen walked off from staff and walked outside the building. I followed him until he went past the pool area and
   it was too dark, so I turned around. Mr. Frederick met me at the door, and I told him that teen is going to the front of the building. Teen came back through the front
lobby door. Teen is walking in circles stating he is from the north. Fuck the East side. Teen is continuing to say Fuck the East side and is now throwing gang signs. Teen is
   telling Mr. Frederick he will jump him. He will slap him. I asked the teen to lower his voice due to being in the front lobby. Teen is saying he is going to his wife house
  fuck his daughter and then fuck his wife. They are going to steal his keys and take his car and put Mr. Frederick in the trunk and tie him up. I asked teen again to lower
 his voice. It is now 7:35 pm and teen is still walking around in the lobby stating he isn’t afraid of the police. He wants to fight someone. Mr. Frederick is sitting near me.
    teen has a plastic knife in his hands saying he is going to kill Mr. Frederick. 8pm teen is in the parking lot saying he is going to bust the worker car windows out. Teen
    was kicking the rocks by the back entrance. Teen picked up a rock and then started telling the worker. He is going to kill both of us, he said I was riding with
     scary ass. He said he now putting me in this, due to me riding with            ass. Teen said is mother and brother are coming up here to kick his ass. He said he won’t
 fight me, but he has a grandmother that will kick my ass. Teen started throwing gang signs again, saying something about East side people will die. North don’t like the
    East. Teen walked off and returned talking loudly. We were still in the parking lot by the teens room. HPD was called at 8:00 pm; when teen walked towards worker
 Mr. Frederick with his fist clutched, he then stopped and after worker Edwards told him, he would go to jail if he puts his hands on that man. I stood between the teen
   and Mr. Frederick. Teen started telling him, “I am going to kill you, you are going to die tonight, I am going to kill you and your family. Teen threatened to spit on Mr.
     Frederick. Teen cough up spit and spit next to Mr. Frederick foot. Mr. Frederick called Mr. Ta ’Roy at 8:02 pm to tell him about the teen’s behavior. Teen continued
  walking up to Mr. Frederick with closed fist and saying ugly things about him and his family. 8:30 we entered the room front desk gave teen a card to enter the room.
 We did ask that they not do that. Teen had the room smelling of smoke. We couldn’t tell what he had burned but the smell was stronger in the restroom. Teen denied
  burning anything. Mr. Frederick asked if I had the information for the Supervisor on call? I told him, “ No, I didn’t receive the report.” I picked this shift up last minute.
      He told me that he didn’t get the report either. I pulled up the scheduled and gave him Mr. Ta’Roy number. Mr. Fredrick called; to let him know; how                was
   acting. PD Ta’ Roy called at 8:36 pm stating he is sending Angela Mason so Mr. Frederick can leave when she gets here. I let him know the teen is now apologizing for
  his actions and he is saying he will act right if, we call the police and tell them not to come. PD Ta ’Roy said that if Mr. Frederick wanted to stay, he could. HPD arrived
  at 8:37 pm. Teen said he was cool with staff and we squashed everything. Police asked if we are okay, We said yes, the teen is saying he will not act out anymore. The




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                                                                                 Description
6/29/23         and CW Dolores Hermosillo were in the hotel lobby when the phone call was made to shift lead, Gady.              requested to visit Liz. Dolores called Hady for
 authorization.        became upset about lead Gady calling Liz’s shift workers to inform them of her visit with Liz.        misunderstood and thought Hady was calling her
     primary caseworker.         started to curse at CW Dolores and stated she will runaway if her primary CW is called. She stated her primary CW is a “bitch” and her
   caseworker doesn’t tell her what to do.         began to run around the hotel. Dolores called Gady for support. Gady and Dolores searched for             on the third floor
    where we briefly saw her.         ran around the perimeters of the hotel. Gady followed her while Dolores was in the lobby.          opened her hotel room (132) and
locked caseworkers out. (unsure how she obtained a room key) CW Dolores’s belonging were in the room. Many attempts were made for                       to open the door before
  Police were called. Hotel staff refused open the door, as the manager stated she has access to a lock door, but the kids are our responsibility. She added that she has
 been through this before and she is tired of it. She stated the police will need to be present for them to help open the door. CW informed hotel staff that we all should
 try to get her out before she is able to hurt herself, but we decided to wait for police. Gady continued to ask         to open the door.       yelled and cursed. When she
   finally opened the door, she ran out the hotel cursing at caseworkers. Police arrived and stated they will help if there is a need, but they will not chase her for their
    protection also for her protection. CW thanked them for arriving. Dolores checked her personal belongings for missing items, nothing was missing.               remained
   running around        hotel and talking to hotel staff. Gady continued to observe        as she was talking to staff while Dolores wrote the incident report. Dolores has
   On 12/27/22,           was banging her head on the table, hit the other youth and ayed Lysol and lice medication towards staff’s faces. EMS was called. At around
10:30 the child          grabbed a glass bottle of Starbucks that was on the kitchen table and was swinging it around at other youth and staff. The child             was hitting
  the glass bottle against the wall stating that she was going to break it. At this time on call caseworker called law enforcement regarding the EMS requested earlier for
            and requested assistance due to the child having a glass bottle and not wanting to give it to caseworker. The child          got the skateboard that belong to
  another child         and she was playing that she was going to hit him with it and then he took it away from her. Staff tried to take the skateboard away from               ,
   but she kept running around the house. The child            then got some Pokémon cards that belonged to the child            and ripped them. The child           got upset
  and ran outside stating that he wanted to run away. At around 11:20PM Law enforcement arrived at the home and started talking to                   to calm him down.
  was calm after speaking to law enforcement and agreed to go inside the cottage with workers. EMS arrived in the cottage and were able to check                   to ensure he
 did not have any injuries,         only had redness to his neck area as he complained that the child          had scratched him. EMS cleared            as they did not see any
  serious injuries to him. On call caseworker left with child        on the ambulance to the hospital at around 11:30PM.            was assessed at the hospital but was not
                                                         admitted and returned to child watch location on 12/28/2022.




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                                                                                 Description
   Around 6:30pm               woke up during 4pm-8pm shift. Staff were told                 was at the hospital.            stated that she received a text message from
  stating, “she was on her way back to the hotel with her boyfriend, and she was going to sneak him into the room. She also stated she would fight anyone who got in
    the way of that.” Contractor on shift stated she was going to use the bathroom located in the lobby. One officer stayed in the room, while the other Officer and
Caseworker left the room with                . While outside      walks up from the entrance of the hotel, and stated she wanted to go back to the room. She stated she left
 the hospital due to them taking to long to give her an MRI test. CW did not observe a vehicle/or see            get out of a vehicle. CW informed       to wait until contractor
got back to return to the room. Instead         asked a guest standing around the outside door entrance to use their swipe card and they allowed her entry into the hotel.
 CW followed on the opposite side, while                and the officer stayed outside. Shortly after the officer and             returned to the room, and the officer stated it
 is possible someone is in the room. CW witnessed           run out of the room, and              remained inside. The officers asked           where      went, and she stated
   she was taking a shower.       then ran back into the room and stated she could not find her cell phone. CW stepped outside the room to contact on call supervisor
   Jennifer Trujillo. When CW went back into the room            took off her shirt and bra and walked in the hallway near the officers and back and forth to her room. The
 officers and staff attempt to redirect her to put a shirt on. The officers then stood in the doorway of the joint room, however stated they would not be able to search
the restroom area. SAPD were then notified, and the unknown black male came out of the room. The officers detained him until SAPD arrived. The unknown male was
 not aggressive and did not attempt to run. However,           was yelling at the officers and stated they did not have a sexual relationship and to let him go. CW left before
   SAPD arrived, however on call supervisor was notified and PD. When she returned staff asked her about her treatment at the hospital and asked if she was ok.
  stated she was ok.      ran away shortly thereafter. Run away protocol was followed, however SA                  rted     is already on the missing persons list since she is a
 Caseworker Maria        rtinez-Gonzales went to the farm to facilitate a psychiatric appointment for              . He s angry because he could not stay at the school and
wanted to go to a Christmas dinner. The appointment did not happen, the doctor never logged onto the Zoom meeting. He became angry and had the med box key. He
 said he was going to go throw it outside and staff, Yahaira and Daniella and I went outside asking him to give it to us. He slung it at Yahaira’s face hitting her. After he
 did it, he got mad at her and then he calmed down and told me he was sorry and got really close to me and put his head on my shoulder. I told him that he shouldn’t
  have done anything like that and then he wouldn’t be having to say he’s sorry. I told him not to get so close to me. She called police. They came out and told him to
   stop acting up and gave him a ticket. He told them he “accidentally” threw the keys and he didn’t mean to hit her. The police told him that he couldn’t do that just
 because he didn’t get his way. When they left, he called us all “bitches”. He went outside and said he was going to hitchhike to the school. Daniella and I followed him
      outside. He had a small book of post it notes, and he threw it at my leg and hit me with it. He walked back inside. He said it was going to be hard to find him a
  placement because he would find a way to get kicked out of all the places. He was calm and sitting on a recliner and I was sitting on the sofa. I told him I was leaving
  and if he had a good day tomorrow at school and in the morning, I would take him to spend a gift certificate that he has to Academy. He said okay and came to me. I
  told him not to touch me and he put his arms around my upper torso cupped his hands together and was squeezing me tighter to him. He put all his body weight on
 me and I could not get free. I tried to get away from him and he was squeezing harder. I tried to slide down out of his grasp and he just squeezed tighter. He smashed
 my face against his shoulder, hurting my cheek, chin and teeth. He twisted my head and neck with his shoulders until I couldn’t hardly breathe. He squeezed my chest
     tighter and touched my breasts and squeezed my ribcage. He kept squeezing and I was screaming at him to stop and Daniella and Yahaira got up and they were
screaming at him to let me go. I tried to get him arm loose and scratched him under his arm. He finally let go and said I scratched him, and it was child abuse. I told him
  again that he cannot touch people without permission, he cannot do that, and he hurt me. I got up to leave and he said he was going to walk me to my car. He kept
checking the car doors to see if they were open. I didn’t go outside until Yahaira and Daniella went with me. He cursed and said no one ever does anything for him and
   he didn’t get to go to his dinner. I got in the car and left. My face, jaw, neck, head and ribs all hurt. I went home and I called the police and they came out and did a
 report The citation # is 221212043 a class A assault causing bodily injury Officer M Estrada with Midland PD He said they could not go and arrest him but he would

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                                                                              Description




       and         began to argue about            dirty dishes on the table.       began to yell and opened the front door and then kicked the front screen door and
ran outside.        followed him outside and explained that he was tired of his behavior and disrespect toward him. Workers followed the boys outside immediately.
       states that        pushed him in the chest and then they began to fight in the driveway and up against the garage.         was ducking away from           as
the workers were trying to physically separate the boys and get          inside and       away from         .       hit        one time under his eye. Killeen Police
Department was called and responded to the residence.            was arrested on an outstanding warrant for probation violation and a report regarding the fight was
taken. KPD case number 23000519.            was evaluated by the Police and EMS and no further treatment was needed.




This incident involves two youth:                         , 14y, PMC, from Detention.                                , 16y, PMC, from runaway. Despite staff attempting to
stop both boys, reminding them of terms of probation, as well as              court terms, both boys left the residence without permission at 11:30PM. When staff
attempted to follow the boys they ran and staff were not able to keep sight of them. Killeen PD was contacted to make runaway report and name was provided. Killeen
PD stated someone would have to come down and make report. Officer then got off the line for few minutes before returning stating the youth were in the custody of
an officer for breaking into a vape shop. He would call to update what plan was with            within 20-30 minutes. Officer Townsend called back at 2:48am and stated
          was going to Juvenile Detention for burglarizing a smoke store. Officer’s explained that JJ was not actually present with       and they were actively looking
for JJ. JJ eventually returned to the residence at 7:45am to pack his belongings as he was leaving for placement that morning.




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                                                                                  Description
                 became upset after another youth had thrown a tea at a caseworker Candace Lynn’s face. They began screaming at each other and                    grabbed a
   large rock and threw it in the direction of worker and other youth. Another youth,                        tried to intervene and take the rock from her and fell in the
                                     process.         was taken to Little Spurs Emergency Clinic and nothing was broken and was ok.
I arrived at about 3:50pm for my 4:00pm shift. Mariana and her staff were sitting in the lobby, so I sat down with the contractor Lacy & the youth. She wanted to call
 her caseworker and I said that was fine, but we needed to go to the room because there was a lot of commotion in the lobby and they had asked for it to be quieter.
She did not like that and got up from her seat with her full Arizona Tea can and got close to me and lunged it at my face. It hit the left side of my head hard and spilled
  everywhere. No major injury but my face was red and a little swollen & red for about an hour.               tried to run off and caseworker Angela Stites & SAPD officer
 were still outside and assisted in keeping her from running off.           didn’t want to have anything to do with me and refused to be near me. She went into room
 119 (she had requested to speak with the caseworker in there) where the caseworkers were working to calm her. I went to room 123 for a few minutes to clean off,
                                                           contractor Lacey stayed with             in room 119
   At the start of the 8pm-12am shift, staff was notified that     had runaway and not returned. At 11:05pm           returned back to the room, PD Natasha Bussey was
 notified. Officers noticed the smell of marijuana as     walked away towards her room. Officers went into             room and asked if they could see in her bag that she
 came back with.       was upset but gave Officers her bag and told them that she would always come back smelling like weed because she smokes everyday. Officers
found a small black container with a half smoked blunt inside. Officers took it and said that we needed to call SAPD to confiscate it.       told the Officers to just flush it
because it was not enough to arrest her. Staff called SAPD and they arrived at approximately 11:40pm and confiscated the marijuana. SAPD talked to              and told her
                  that they would take her in next time even if it does get rejected. No tickets/ citations were given. SAPD Report # SAPD20230010190
 Soon as the 1-6pm shift left           started leaving in and out of the room. When staff followed, he would run and hide.                then sprayed a whole can of Lysol and
Febreze in staffs hair and in the room causing staff to choke and cough. He also started to spray staff and act like he was going to hit staff in the face with the spray can.
             then took empty water bottles and twisted them until the tops popped off and hit staff. He then kept swinging his fist and hands close to staff’s face almost
 hitting them.           began kicking staff’s chair and pulling the back of the chair to try and make staff fall. He walked out of the room, when staff followed, he then hit
    staff in the arm with the plastic "wet floor” sign in the hallway. When he finally came back into the room.                snatched the hotel room keys from staff and ran
    again. When he got back to the room again              called his mother asking her to bring him a gun to kill/smoke staff. His mother said ok “I’ll be there tomorrow”.
            then grabbed his binder and threw it on the floor causing all of the papers to fall out.           told staff that he was going to smoke them again. He then went
outside and started banging on the windows.               came back inside and kept slamming and kicking the door. He then took a string and was pretending to choke and
      spit up on the floor.          then tried to pick up the desk chair while the staff was sitting in it. He also hit staff with a paper book that he folded.         then
 threatened to hit staff again. Staff called on call PD Dalen Dileto and was instructed to call MCOT. While staff was calling MCOT                got upset and started threating
  staff again.         then left the room and came back with a cigar and lit it in the room and began to smoke. He then took 2 dozen eggs out of the room and said that
  he was going to egg staff’s cars. Staff then called MCOT and they stated that would talk to their supervisor and get back to us. Staff then received a call about 15mins
    later from MCOT and stated that they were unable to respond due to                   aggression and drug use. MCOT directed staff to call 911. Staff then contacted the
   police. While staff was on the phone with the police Walata kept asking staff if she was in her feelings because he admitted to stealing $20.00 from her last month.
              then took the broom apart and threatened to hit staff. He also hit the table and chairs next to staff repeatedly with the broom stick. Staff had to hold her
  computer and phone to keep              from grabbing it.           kicked and broke the wall socket.           left again The police arrived and while talking to the police in



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              was in possession of a tablet that was not given to him by staff or his caseworker. The tablet belongs to another child at the site. Staff contacted On Call
 Supervisor and verified that the tablet needed to be in the safe.               Caseworker was out on sick leave and could not be contacted to advise on permissions and
    usage at the time.             got very upset when I let him know that I needed it so I could put it in the safe. He came out of his room arguing with staff, and other
 worker Bobie Garza went into the bedroom while                  was in the living room and she grabbed the tablet. As she attempted to return to the living room area and
 kitchen where the safe was located,               stood in the doorway and blocked her from coming out of the room. We both asked                   to move and to get out of
  the doorway so Bobie could leave the room and he told us no and that he was not going to move until we gave him his stuff back.                     moved to the side of the
 doorway so Bobie attempted to walk through, and                  stood back in the door way and pushed himself into Bobie, pushing her back into the room with his chest.
 He sprawled his arms from one side of the door to the other and stood in the middle of the door with his entire body. I contacted on call supervisor Carole and let her
 know what was going on. She asked me to put her on speaker phone in which she let                    know that law enforcement was on their way and that he needed to let
   Bobie out of the room.             dropped the toy he was playing with, and Bobie quickly moved out of the room and slid back into the living area.               then got
  upset and stormed out of the room. I walked after him, keeping a safe distance. He went to the parking lot and walked the edge of the property. I reminded him that
  he was on probation and that if he left the property I would obtain a photo and contact his probation officer. He got upset and kicked an orange cone that was in the
   parking lot next to a car. I picked it back up and placed it where it belonged. A photo was obtained.              then walked out of sight along the back of the building.
  Law Enforcement arrived to the room and                 came into the room right behind him. The officer took a report and provided case number SAPD23017267. It was
   Officer Rangel, Badge #1072. He spoke with               and advised him he was going to be arrested if he assaulted the workers any further or got physical with them
 again. I contacted his probation officer as well and advised him of the incident, and he stated that he will be out for a visit over the next few days. The officer left and
     Around 7:20PM all CWOP kids (                                        ) were sitting with CWs in living room. While engaging with the youth a random Vape Pen was
  dropped on the floor. CW Gadea grabbed the vape pen and asked each child individually whose it was. After a few minutes                     stated the vape pen was his. CW
 Gadea asked              how he obtained the vape pen.              stated he found it outside. CW Gadea notified On-Call Supervisor Jeanette Gamboa about incident. CW
 Gadea was instructed to contact SAPD. SAPD was contacted at 7:29PM. Around 7:35PM                        because frustrated and left the hotel room without CWs permission.
   CW Alvarez and Officer Ortiz followed              . CW Alvarez asked            multiple times to return to the room and             declined.          returned to hotel
   room at 7:50PM. Upon his return                attempted to connect the hotel phone to speak with the front desk staff. Officer Ortiz informed              to stop as CWs
  attempted to redirect his behavior. Officer Ortiz grabbed the hotel phone and moved it away from                  . SAPD arrived at 8:00PM. SAPD Officers interviewed CW
  Gadea and Darryion. SAPD Officers took the vape pen and took it to test. Around 8:30PM they returned and stated since CW Gadea gave them the vape pen and not
the child it would need further investigation. SAPD Officers shared they would contact his Probation Officer. Report #: SAPD–2307702, Officer Moreno 2082 and Officer




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                                                                                 Description
      On Friday, 01/06/2023, at 8pm, CPU Coordinator Kendra Leazer arrived at CWOP location La Quinta located at 3180 Goliad Road in San Antonio. Departing shift
informed Worker Leazer that neither child was on location as they were both currently on runaway. At approximately 8:21pm,                                , returned to location
      on her own.              walked in and stated, “I’m drunk off my fucking ass and I’m trippin.” She then warned workers that she “gets aggressive when drunk,” but
    continued to babble, some of which was not coherent. On call Program Director, Natasha Bussey, was notified that                    had returned and was reporting to be
 under the influence of alcohol.               went to her room and then stated she would be going outside for “an important phone call.” A few moments later,
 returned and asked the officers and contractor on shift to come into the hall as she needed to talk but she forbid Worker Leazer to come. Both officers and contractor
   went into the hallway while Worker Leazer stayed at the doorway.                  was in possession of a 1.75 liter bottle of Jack Daniels Tennessee whiskey, green apple
     flavor that was approximately 1/3 full and cold to the touch. There was also a water bottle that over half full of another brown liquid, also believed to be whiskey
  based on smell.               surrendered both liquor bottles to the security on location and it was discarded down the bathroom drain.               continued to state she
 was drunk and when Worker Leazer inquired, both officers agreed                  was under the influence on location based on observation.               stated she was going
  to shower but it was encouraged that she sit or lay down to minimize fall risk due to possibly being under the influence. She retreated to her room and played music
    while rolling around the room in a chair on wheels. At 9:25pm,               again left the hotel and was unable to be located by security and staff. San Antonio Police
   Missing Person’s Unit was contacted and information was updated. Youth was noted to be missing under NCIC # M917143571 and Case #:SAPD 23003162. Worker
     Leazer spoke with Jade Clark who updated the information.                returned on her own at 9:56pm and stated she had “took a shot” and mentioned someone
  named Paul but did not elaborate any further. PD on call Natasha Bussey was updated                    had returned again and continues to state she is under the influence.
               began to escalate pressuring the security on location to check their app and tell her who the next security officers coming on at midnight would be. Both
 officers (Pena and Rodriguez) declined to look up the information.                then stated, “you go to the Humanity App, shift planning, all, scroll down to the one after
   this and it’ll tell you.”          informed everyone that Monica and Idalia are midnight security shift and they better not come because she does not like them and
   threatened to harm the female officers if they make location and attempt to enter the room.                  stated, she would destroy property in the room because she
  does not like the next two officers. Staff and security cautioned             against property damage or physical harm as that could result in consequences. PD Natasha
   Bussey was informed of the youth having accessed to this confidential information on the security app which is a serious safety concern. PD Natasha Bussey and PA
Stacey Case made a joint call to speak with Worker Leazer privately who stepped out into the hallway. After a few seconds,                    , came out and proceeded to start
   telling the worker how to do her job.              was redirected to the room with security and contractor. It was directed to Worker Leazer that the cell phone would
        need to be removed from               this evening and there would be a plan put into place to retrieve the device as there are serious concerns of confidential
  information that may be on that phone and apps, Worker Leazer returned to the room and                      came back to the area with the security officers and contractor
 plus worker. At this time,              stated that she had “something to confess.”             continued to dance around the subject and would not outright say what she
 had but asked if she could be allowed to “go roll and smoke a joint outside or off the property?” Security and staff advised she could not and needed to be honest and
  produce whatever was in her possession.                 then stated she was going to “get rid of it,” and proceeded to her room to, “shower.” Security officers and staffed
 followed                but she closed the bathroom door and would not open it. When asking what she was doing, she stated she was brushing her teeth. Once
 opened the door and came out she was placed in handcuffs by security and asked where the product was and she began yelling crying and acting hysterical begging




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                                                                                Description




                        requested for On Call Supervisor, Laura Salazar, to be called and ask if their outing was approved for the day. CW Iris Rodriguez contacted Sup
 Salazar and was advised the outing is not approved at this time.               became upset and stated she’s been behaving all week and isn’t fair that they’re not going
  anywhere.            asked staff if they were familiar with her sibling,         , as she was going to act out like her since the outing was declined.             wrote on a
white piece of blank paper that belonged to           with a colored pencil that belonged to            as well.          wrote “fuck the fuck supervisor you Laura fuck bitch”
 and threw the paper and pencil on the floor.           asked           to pick up her stuff off the floor and            told her no.         and          began stepping into
    each other’s face. CW Martinez got in between             and            to deescalate the incident and asked           to go outside and step back.          ignored CW
    Martinez and shoved              on her shoulder with an open hand.               reacted by grabbing          by the hair and          grabbed           by her hair. CW
   Martinez observed            to hit        with a closed fist on the side of her left stomach while still holding onto            hair. CW Rodriguez pushed Safe Signal as
  soon as physical altercation started. CW Martinez observed             to let go of             hair and both girls separated from one another. CW Rodriguez advised she
 observed            hit       on the right side of her chin with a closed fist.         left to her bedroom and              proceeded to throw papers on the floor. Hidalgo
County Sheriff’s Office arrived at the facility and contacted EMS to obtain clearance for Hailey. EMS arrived and cleared                .       reported to EMS she was hit on
the chin. Law Enforcement #023-01047. Child                was handcuffed and detained by law enforcement. Law Enforcement staffed with Juvenile Detention and they
    uncuffed and released child            to CPS Staff. Law enforcement explained that because child               started the fight, she was the one who was going to get
               detained and transferred to Juvenile Detention. Law enforcement proceeded to detain                    and transported her to juvenile detention.




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                                                                                Description
            and         requested for On Call Supervisor, Laura Salazar, to be called and ask if their outing was approved for the day. CW Iris Rodriguez contacted Sup
 Salazar and was advised the outing is not approved at this time.               became upset and stated she’s been behaving all week and isn’t fair that they’re not going
  anywhere.            asked staff if they were familiar with her sibling,         , as she was going to act out like her since the outing was declined.             wrote on a
white piece of blank paper that belonged to           with a colored pencil that belonged to             as well.         wrote “fuck the fuck supervisor you Laura fuck bitch”
 and threw the paper and pencil on the floor.           asked           to pick up her stuff off the floor and            told her no.         and          began stepping into
    each other’s face. CW Martinez got in between             and            to deescalate the incident and asked           to go outside and step back.          ignored CW
    Martinez and shoved              on her shoulder with an open hand.               reacted by grabbing          by the hair and          grabbed           by her hair. CW
   Martinez observed            to hit        with a closed fist on the side of her left stomach while still holding onto            hair. CW Rodriguez pushed Safe Signal as
  soon as physical altercation started. CW Martinez observed             to let go of             hair and both girls separated from one another. CW Rodriguez advised she
 observed            hit       on the right side of her chin with a closed fist.         left to her bedroom and              proceeded to throw papers on the floor. Hidalgo
County Sheriff’s Office arrived at the facility and contacted EMS to obtain clearance for             . EMS arrived and cleared          .       reported to EMS she was hit on
the chin. Law Enforcement #023-01047. Child                was handcuffed and detained by law enforcement. Law Enforcement staffed with Juvenile Detention and they
    uncuffed and released child            to CPS Staff. Law enforcement explained that because child               started the fight, she was the one who was going to get
               detained and transferred to Juvenile Detention. Law enforcement proceeded to detain                    and transported her to juvenile detention.




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                                                                               Description




            and          were both agitated at the beginning of the shift.           was walking around the hotel not following directives. She became upset and walked
  into her assigned room and began to destroy the room and all the property about 12:30 PM. She was throwing things against the wall. CW Mabel Macias was asking
 her to stop and talk to CW about why she was upset. She continued to throw everything. She then walked to the lobby and then she kicked the yellow wet floor sign.
   She began to destroy the lobby throwing everything on the desk. 12:40 PM                asked her to stop and           walked away.            was in the hallway when
           attacked her from behind. At this time SAPD was called by the hotel manager 12:47 PM. This CW attempted to contact PA Julian Apolinar, he did not answer.
   Both girls were punching, scratching, biting, and hitting each other. 12:50 CW Fidel called site supervisor, Shawana Salazar to inform her of the incident. CW Mabel
 Macias and Contractor Brandi Williams tried to get them to stop and they continued to fight.              was asking           to let her go because her neck was hurting,
 and           would not let go. They were on the floor fighting for about 10 minutes without stopping. They finally let go and             walked outside.           stayed
  on the floor crying. Around 12:54 PM             grabbed a brick and walked to the back of the hotel. SAPD was called at this time by CW Fidel Hernandez. At 12:55PM
CW Mabel Macias called supervisor Megan Franco to inform her Shawna and Julian did not answer, and the girls were still fighting. 12:56 PM                   ran out the side
  door and attacked            again in the hotel parking lot (SAPD was called again).          was not wearing a shirt and was again hitting           and pulling her hair.
         s was also hitting her and crying. The contractor Brandi Williams called her Supervisor Tymeshie Franklin to tell her the girls were fighting, and they would not
stop & stated it was too much. Ms. Franklin drove from the La Quinta Hotel over to Quality Inn to switch with Brandi. CW Mabel Macias followed                    and
  ran off to the back of the hotel around 1:05PM.              walked in the hotel and began to throw everything in the lobby; the mac desktop, the coffee machines and
everything on the front counters. The hotel staff recorded her. 1:08 PM              had walked back into the hotel and was in the hotel lobby using the restroom cleaning
   her face. CW Mabel Macias knocked and asked her if she was ok; she said yes. CW Mabel Macias walked her over to the security room and tried to get her to calm
    down. She asked to call her mom. CW dialed for her and had it on speaker. Around this time              was still out in the parking lot not calm walking around. Ms.
 Franklin asked for CW Fidel Hernandez to go help her with              . At 1:21 PM CW Mabel Macias got a call from Shawna asking for the primary workers information.
At 1:25 PM CW Mabel Macias texted Fidel Hernandez to see if things were ok with                  and he reported he was looking for CW since SAPD had arrived at 1:27 PM.
  CW Mabel Macias called Julian again to ask for directives. He reported the girls were being moved and Shawana was working on it. CW then walked in the room 123
     with          to talk to the officers. SAPD # 23023313 SAPD took my statement and the girl’s statement.               was not pressing charges. The hotel manager
reported she was pressing charges and she wanted someone to fix the glass door today. SAPD reported they were not arresting                    or          because they have
                                                                              mental health issues.




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                                                                             Description
  At approximately 1645 hours at the Fairfield Marriott Hotel room 421 an incident occurred with           (youth), Jessica Macada caseworker, HST Nora Tolliver and
 Caseworker Lopez.         was insisting on swimming and staff stated not at this time.        grabbed the sign up books and took control of the room keys.
        the other youth in the room attempted to stop her from taking them.           ran out the room and             following behind her. Caseworker Lopez and HST
Nora attempted to follow the youths into the hallway. At the same time as trying to out of the room          ran in and pushed Ms. Nora and striking her with her elbow
  on her side and swung at Caseworker multiple times hitting him in the back with a closed fists. Ms. Nora was not injured, and Caseworker Lopez sustained some
      discomfort at the spinal cord stimulator location where it was struck by her fists. SAPD was called and        was detained. SAPD Report# SAPD23018358.




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                                                                                Description
  On 01/22/2023, at approximately 3:20PM,             and         (TK), were involved in a physical altercation. As staff was picking-up the room and throwing trash away,
  both youth were asked to pick up their items from the floor.          picked-up a container of Tajin, to which TK stated it was his.        informed the Tajin was his and it
    was old and wanted to throw it away.           proceeded to throw the Tajin away and TK proceeded to follow             and take the Tajin away before throwing it in the
     trash. TK was advised and redirected to stay in his area away from          TK approached         and exchanged words and stated to “fight him”.          and TK were
 verbally redirect and instructed to separate, contractor was standing in the middle of both youth. Law Enforcement officer (LE) was in the room, sitting down and was
told to intervene, by the time LE arrived at the spot where          and TK were, the physical altercation had already ensued. Contractor was told to move out of the way,
        to which she did. LE intercepted and broke up the fight. TK walked outside of the room and remained in the hallway.             remained in the room. Local Law
  Enforcement was contacted and arrived. Law Enforcement were informed of events that transpired. TK asked if                  would be taken to jail because he was a minor
   and        through the first punch. Law Enforcement explained to TK that since there was no injury, no one would be going to jail. TK then stated that he was feeling
lightheaded and dizzy. Law Enforcement contacted EMS to have TK checked evaluated. When EMS staff arrived, vitals were taken. TK was coherent and speaking. EMS
      advised they did not see any issues with TK but did not mean that there wasn’t a concussion or other issues happening internally. TK informed he wanted to be
 checked out. On-Call PD was contacted and advised of EMS’s evaluation. It was determined that TK would be picked-up by other staff and transported to Urgent Care.
Local Law Enforcement provide Case #: 23-01468 (Corporal Carlos Lopez Jr.). TK proceeded downstairs to wait for staff. Shortly after, TK informed he was feeling better
  and stated he was okay. TK reported he did not want to go to Urgent Care to be evaluated further. On Call Worker showed up to the hotel at 4:51 pm. Te’Korii again
On 1/13/2023 around 2:15pm                   was seen walking along the right side of Quality Inn looking for the girls that were placed here in CWOP. Hotel Manager did not
    want            at this hotel. SAPD was called and officer arrivd around 3:15pm and ran                information. He confirmed that there was no Criminal Trespass
Warning against her, and she is not listed as a runaway. Officer Wayne states that since she has no criminal trespass order and she is with CPS staff she can be here. He
   then went inside to talk to the owners. I notified PD Ana Garcia. She advised me that                 worker is on her way to come get her. Officer Wayne asked me to
come inside with              . The officer advised me that hotel staff do not want her here and asked what I was going to do. I explained to him that I notified the PD and
   the hotel called LE to assist with getting her off the property. He said that he cannot make her leave because technically she is with CPS staff and does not have an
  active no trespass order. The owners did not like this response and once again said they do not want her here. Officer Wayne asked the hotel owners if they want to
    put a criminal trespass warning against her and they said yes. The officer completed the request and provided a Criminal Trespass Warning against                   and
 notified her. Case number: SAPD-2023-0062729.                   worker, Angela arrived while I was talking with the officer and the hotel owners around 4pm. I went to do
                                                    my paperwork and Angela continued to talk to the officers and              .




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                                                                                Description
 At 9:35pm the staff called the caseworker stating             wanted to talk to her about something very personal. The shift lead went to             room but when she got
    there, she stated never mind she don’t want to talk anymore. The caseworker asked                 was she okay and was anything wrong.           stated that she wanted
  something food from the med room and wanted to walk/talk privately. The caseworker informed Syniah that they could go for a walk but at least one worker had to
come along with them.             stated that she did not want them to come. The caseworker informed                again that a worker had to be present. She stated okay and
  Ms. Jessica came along.            stated that she has been very depressed, and she also has an addiction.            informed the caseworker that she wanted to give her
    something. In her hand there was a paper towel and tissue balled up in her hand. The caseworker asked                  what it was.       stated take it please. I refused
   several times and asked her to open it and she was not going to touch the item.              opened the tissue and she pulled out a blade. The caseworker asked
      where she found this.           stated that she got this out of a pencil sharpener. The caseworker asked her did she cut herself anywhere and she stated yes. The
  caseworker retrieved gloves from the medications room.                stated that if she shows her the cuts then she cannot tell anybody. The caseworker informed
   she will have to have a witness present when she shows her the cuts.               stated okay but don’t tell anybody please.        pulled up her sleeves and there were
     two socks covering her wrists/lower arms. The caseworker removed the socks/paper towels from her right arm first and discovered the first set of cuts. Then the
  worker proceeded to remove the sock/paper towel from her left arm and there where blood and more cuts. The caseworker attempted to take pictures, but
      refused and moved her arms. After a few attempts the staff was able to obtain the photo and the lead continued to talk to her. The on-call Supervisor/PD was
 contacted immediately. EMT/Law enforcement was contacted. EMT examined                       and she was transported to Methodist Midlothian Medical Center (1201 E US 87
Midlothian, TX 76065).           stated that she was not suicidal and was not going to harm herself anymore. Additional Information Youth reported she had been cutting
    herself the last 2 days while in the restroom. Youth stated she wore long sleeve shirts and had socks wrapped around her wrist as bandages to hide from staff. She
5:40pm: VT returned to the hotel with CASA. Now she is upset. Wants to know where her shit is. Saying she will go the fuck off. Stated call her caseworker now. CASA is
  reporting that VT reported she has a phone on her person. VT closed the door to her room. She comes out a few moments later holding her broken hand mirror and
the glass from it. 5:47pm-VT just took off down the stairs. CW McCown followed down the stairs. CW Flanagan took the elevator downstairs. V reappeared downstairs
and walks outside. 5:50pm-VT and caseworker Flanagan spoke while McCown spoke with VTs caseworker. VT had a mirror that she broke and had pieces in her hands.
Flanagan requested that she not harm herself as they walked towards the water on the side of the hotel towards the antennas. VT stated that she was not really going
to hurt herself, she just wanted to act like it so she could go to a crazy place. That way she would have something to do. 5:58pm-VT walked out to the service road and
  caseworker Flanagan tried to convince her to come back. CW McCown was instructed to active SafeSignal. 6:00pm-Flanagan spoke with SafeSignal and explained the
   situation that a female foster child aged 15, was trying to self-harm and walking towards traffic. VT walked past the caseworker back to the hotel. 6:05pm-Flanagan
 stated are we going back to the hotel, can I tell LE they are not needed. VT stated yes. Waxahachie LE made contact via phone with Flanagan and stated that LE was in
 route. LE arrived and Flanagan met them at the front with VT. Explained the situation and that they were not needed. LE left the seen. VT calmed down and started to




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                                                                                Description
         asked Worker Papageorge go turn off the lamps by her bed, Worker stated no, that she could do it,             stated she didn’t have any pants on. Worker turned off
    the lights.       asked worker multiple times to scratch her back, worker repeatedly stated no, and told her it was inappropriate.            complained that her throat
    hurts.        asked worker to tell the AM workers what she wants for breakfast if she doesn’t wake up in time. Worker told her that they will wake her up to go get
    breakfast but they will not get her breakfast for her while she sleeps.         became upset.         got even more upset and started throwing things- paper plate and
 plastic fork, cereal box, pieces of cereal, and a water bottle. After a few minutes          got out of bed and walked over to the thermostat. She kicked the trash can and
   changed the thermostat. She then sat back on the bed for a few minutes and then got back up and grabbed her hair gel and lotion and threw them against the wall.
    They both exploded against the wall and floor.          then started banging her head against the wall. She would not respond to worker attempts to get her to stop.
Worker Papageorge asked her what would help her calm down right now and she ignored worker. She refused to respond to any questions or directions from workers.
 Worker Papageorge called the Mobile Crisis Unit. 8:54pm-Workers called 911 as                was banging her head on the wall for over 20min. Workers would attempted to
approach           to contain her behavior and she would bang her head harder when we got closer. Workers were afraid that                had given herself a concussion, so we
 called 911 as         was falling asleep sitting up and not really responding to workers. Workers were watching            and we noticed she was having involatile twitches.
                                  then began having seizures (3 in total). EMS arrived and she was assessed and transported to Children’s hospital.
    Minor constantly state        he worker (Ana Bare) “Te quiero cojer…” TRANSVERBATIUM “I WANT TO FUCK YOU…” while he was asked to stop he replied:”Me vale
      verga…” TRANSVERBATIUM-“IDONT GIVE A FUCK…” Later during the day he asked for help in the kitchen when I was looking inside the cabinet he pushed what I
   deducted by location and distance could be his penis against my body and stated “Te quiero abrir las piernas y te quiero cojer…” TRANSVERBATIUM:”I want to open
           your legs and I want to fuck you…” at this point I move away from him and told him in Spanish: “Ya le pedi que no me hable asi y si usted sigue ton ese
  comportamiento le voy a tener que reportar a la policia.” TRANSVERBATIUM:” I already ask you stop, if this continue I would have to made a police report.” The child
smiled and stated “Me vale verga, ya le di un putazoa un chota y and…” TRANSVERBATIUM:”I don’t give a fuck, I hit a cop in the face and nothing happened.” After that
                            I ask      to stay away and the next shift arrived A police report has been filed case# 23002034 Officer Bennett 497
           got up and walked ou         and stated that he was going to kill himself and picked up a piece of glass and started scratching his left arm. Workers asked
     to stop because he was going to hurt himself.             then started trying to cut his neck but was scratching it with the piece of glass.         tried to go into the
 bathroom and with the glass but worker was able to stop him from closing the door.                 walked to the kitchen area and then back outside and got more glass and
  ran into the bathroom, closed, and locked the door. CW contacted LE and reported all of this to them as well as                putting the glass in his mouth. LE showed up
   and           ran from the living room to the bathroom and locked himself in there. LE was informed where                 was at and kicked the door in causing damage to
 the door. LE put            in handcuffs and sat him outside. Paramedics showed up and stated that mental health was not going to be coming to assess                   and CW
     informed that he needed to be taken to the hospital and he was.              was placed in ED 19 and will be having some tests and assessments completed.
stated that he did this because he is heartbroken over a girl he doesn’t even know or hasn’t talked to.              stated he doesn’t know her name. CW informed
that this is not okay and            stated that its hard dealing with a broken heart.          was taken to Midland Memorial for assessment, he was then transported and
                                                               admitted to Dallas Perimeter. Report #23-0225-019.




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                                                                              Description
          was watching videos on computer in the lobby area at shift change. She asked to go back to the room at 12:10am. Child took her medication at 12:13am Child
  spent the rest of the time watching TV and she ate a couple of snacks. Child laid down at around 3:20am, however, after 5 Min she got up went into the bathroom,
 changed her clothes, put shoes on and walked out of the room upset. She went to speak the Police Officer in the room next door. He began talking to her and assisted
   in helping her calm down. She stated she was upset but didn’t know why. She then requested to be taken down to the Lobby and while caseworker and contractor
grabbed room key. She grabbed a mid-size bowl and threw it on the floor causing it to shatter (Caseworker cleaned it up). Child proceeded to walk out of the room and
    go to the elevator and to the Lobby. As caseworker and contractor followed her, she stated she was mad. She walked around the lobby grabbing different things
(decorations) and throwing some of them around. She then grabbed an apple from the store and smashed it on the floor. Caseworker and contractor along with police
officer were redirecting all of her behaviors but she just laughed and said she did not care and wanted to get in trouble. She then grabbed a paper that was on the front
desk and wrote on it “Fuck you all” and “take me to Clarity” she grabbed a stem from a decorative flower and went towards the elevator and returned to the room, all
of this took about 20 minutes. Once in the room she walked into the restroom and locked herself in with the flower stem. She would not open the door or respond, so
  police officer opened the door to ensure her safety. She was laughing and after the officer spoke with her for a couple of minutes, she gave him the stem. She came
                                out of the restroom and sat on the floor, she appeared calm. She then began watching TV until shift change.
 At around 6pm,              punched the television in the living area three times. The television was not working afterwards. The caseworker spoke with the staff (along
with the officer) and the staff did not want to press charges. He was verbally aggressive after the incident. He then stayed in his bedroom.          was upset because
                                                                          he was told no to an outing




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                                                                                Description
    At approximately 930 FGC Benavidez noticed a yellow towel under the bathroom door upstairs. I asked if they smoked anything in the restroom. They stated no, I
opened the restroom and it smelled like marijuana, and there was a lighter on the sink. I grabbed the lighter, which was later turned over to LE. The window was open.
           asked if LE was going to be called. I informed him yes. Due to internet connection and another child talking to his caseworker on my phone I was not able to
 contact team lead until around 950 who advised to call LE.             stated he was upset and stated that if we don’t care he doesn’t care and started to vape in front of
us. He stated that he did not smoke marijuana. He ran outside with a package and ran around the corner. LE arrived around 10:18pm. At this time                  handed over
   a vape to the officer and stated that is all he had. LE was granted permission to search the home. They found cigarette butts, BB’s and a spin of a bullet in
 room. They asked            if he had a gun, he stated no but there was one out back in the yard. He stated that another peer who left stated he would find a gun in the
yard (we believe this was the BB gun that was turned in). At this time the search dog was called. They did not find a gun in the yard.            was given a citation with an
 upcoming court date. The responding officer stated they found cigarette butts under his window, found cigarette butts in his room and packages to vapes. They found
                                                                           the vape he tossed outside.
    At approximately 930 FGC Benavidez noticed a yellow towel under the bathroom door upstairs. I asked if they smoked anything in the restroom. They stated no, I
opened the restroom and it smelled like marijuana, and there was a lighter on the sink. I grabbed the lighter, which was later turned over to LE. The window was open.
  LE arrived around 10:18pm. LE was granted permission to search the home. They found cigarette butts and empty alcohol bottles in his room. The responding officer
 stated they found cigarette butts under his window, found cigarette butts and his room is the room that smelled like marijuana. LE stated the top dresser smelled like
                                                      marijuana Jo        s given a warning since the bottles were empty
   At the beginning of the 8pm-12am shift, workers checked on             and he appeared to be asleep. The workers checked on him 2 other times at 8:30pm and a little
after 9 pm. He was in his room and appeared to be asleep. At 9:40             came out of the room and sat on the couch.         began to slur his words and was not able to
    answer questions.          could hear sounds coming from another youth’s phone but he was very confused what he was hearing.                continued to ask who was
talking and “where is that”.         moved back and forth in an agitated manner. The workers asked             several times what was wrong with him, and           repeatedly
  said nothing.        stated that he didn’t do anything wrong. The workers asked him again if he took anything. Worker Earl made the decision at that time to call 911
for an ambulance.          started to become combative. And attempted to go back to his room. At 9:56 Worker Earl called 911. Admin Banks went to                   room in an
attempt to find out what           might have taken.        tried to push past Admin Banks to go into his room. Worker Earl instructed          to go and sit down and not to
  go back into his room.         continued to fight and try to go back into the room. At that time Worker Earl requested police along with an ambulance. Sean came and
   attempted to talk with        . Workers told Sean he could not be in the room with          .      repeated “I just feel good” and “I just have to make it until Monday”
 Worker Banks asked           What he meant.          would not answer. At 10:02 police arrived. Paramedics and the fire truck arrived within a minute or two.           went
  into the empty room and sat down. The police officer and firefighter went in the room and talked with            .       would not talk with the officer. The officer asked
   worker Earl if       needed to go to the hospital. The paramedics took            to the ambulance to evaluate him. Worker Banks went into            room and found a
 bottle of premixed margarita that was was 2/3 full. That was the only item found in             room. The ambulance left at approximately 10:24. He was transported to




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                                                                                 Description
    On 2/21/2023,          complained of dizziness, chest pain and having trouble breathing.          was given Tylenol.      continued to say she was in pain and it hurt to
      breathe. Worker called EMS for         to be evaluated. EMS could not get          vitals as she could not control her breathing. EMS recommended she be taken to
                              CHOSA. EMS took Sinai to CHOSA. She was evaluated and discharged and was brought back to the CWOP location
Upon arriving to the shift 4pm-8pm on 02/25/23, The previous worker advised that                was saying her side was hurting so she was laying down to see if it would help.
      She expressed that        had been previously taken to the hospital a few days prior and they prescribed her Tylenol, which she had already taken that afternoon
  around 2pm.          later expressed that she couldn’t breathe and had pain on her rib area. At 4:38PM, I contacted PD Sandy McCabe through text and was advised by
   her to contact EMS to evaluate         . When EMS arrived,        was taking short, fast breaths and said that was the only thing helping the pain, but EMS advised
   she needed to slow her breathing as she could faint. EMS took vitals and medically cleared            , mentioning everything looked normal. EMS expressed they did not
feel that she needed to be taken to the hospital as everything was normal and she had already been seen before. They mentioned to                 that if she did go, she would
  just be waiting in the waiting room because it was not an emergency. When we asked                if she wanted to go, she expressed she did not want to go to the hospital
and would see if she felt better. EMS advised if the pain did not go away, an urgent care would be best to take her to instead of the hospital as it was not considered an
                        rgency. After about 30 minutes         asked to walk around outside and expressed she felt better and did not have any mo            n.
round 1:30pm,            was asking to go to the pool an       ber Winters, caseworker told her no and that she was not allowed to go to the pool.           tried arguing for a
 few minutes and the caseworker continued to tell her no.             then walked out of the room (QI – 119) barefooted and headed towards the pool.              went outside
and found that the pool was locked and came back in to ask the front desk to open the pool. Again, the caseworker told her no and                got upset and walked out the
    side door (side by the pool). The manager followed           and asked the caseworker if he should open the pool and the caseworker told him no.             then started
   walking across the parking lot and the caseworker told           that her primary caseworker and probation officer would be contacted. The caseworker also informed
           that should she leave the property the police would be contacted.          continued across the grass, through the CVS pharmacy parking lot and went into the
 CVS. The caseworker contacted the primary worker (Cassandra Garza) via phone (1:44pm) to inform her of the situation. The primary worker reported that she would
     contact         probation officer.        was running around within the CVS store going between all the aisles running away from the caseworker. The caseworker
      contacted the staff from QI 123 (Carolyn Greigg) and asked her to come and assist since they had no child in their room at the time. While in the store,            ran
  around, crawled around on the floor hissing at the caseworkers and the other customers. She would run and hide throughout the store, took and hid some items and
 tried hiding back at the pharmacy near the used needles bottle. The caseworker went and stood in the area and                 verbally threatened the caseworker, telling her
  that she was going to kick her ass if she did not go away.         then grabbed the caseworker’s left arm, squeezing and tried to pinch. The caseworker told             that
   she needed to let go and to keep her hands to herself. Claire then pushed/shoved the caseworker causing the caseworker to stumble backwards 3 steps to keep her
balance.          then ran off again through the store.         was getting further out of hand, loud and verbally threatening the caseworker. The caseworker told the CVS
   manager to go ahead and contact the police since Claire was having increased behaviors and had already put her hands on the caseworker. The manager then called
   the police around 2:35pm. The police arrived around 2:45/2:50pm and tried asking questions.               got loud and disruptive when the caseworker was talking so the
      police cuffed her and took her out to their vehicle The caseworker and other staff followed with the second officer giving him details. By 3:30pm, the police had
   completed the report and           got a case number (23036303) and was charged with assault bodily injury. The police informed the caseworker that               would be
  released to returned to the hotel, but they would talk with her first. Claire was taken from the back of the vehicle and the police had her apologize to the caseworker
       and informed her that if they are called back for her leaving the property (runaway) or putting her hands on anyone, then she would be arrested and taken into
 custody           walked with the caseworker and other staff back to the hotel Upon arriving in the room she got upset about some snacks and went to pick grass with



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                                                                                Description
   On 2/2/23, I arrived at the hotel for the 12PM-4PM shift. There was only one child at the hotel. I decided to go through the binder and medication boxes while the
 other two children were still on runaway. I received a phone call from Cassie Boyd and Tasha McFarland letting us know that                   and       were in route and were
being transported back to the hotel by an HST from Houston and I was told that they were going to give us their cell phone when they arrived. I decided to take all the
 items that needed to be removed from the hotel to my car before they arrived. As I was walking down the hall, I passed                   and       heading up to the room with
the HST. I continued to my car. When I returned to the hotel and as headed back to the room, I met the HST in the hallway. She said that she was scared to tell anyone
   in front of the boys but that when she drove up into the parking lot the boys jumped out of the car and headed to a wooden fence on the rear of the property. She
stated that they had a plastic bag that they had tied into a bow and hung it from the fence. I asked her if she would show me where it was located, and she stated that
 she didn’t want them to see us. I asked her for her cell number and told her I would call her, and she could talk to me and help me locate it. She agreed. I left out the
 lobby of the hotel and turned right. I walked to the end of the building and turned right again. I walked all the way to the end of the property, right before the brown
(caramel colored) fence ended and a black rod iron fence started. I saw the bow part of the bag sticking out of the fence with the contents of the bag hanging over the
   backside of the fence. I retrieved the bag. The bag was double wrapped in plastic and was very bulky. I saw knifes, two phones, several vapes, and a couple packs of
  cigarettes. I did not fully inspect the bag before putting it into my trunk. I was worried that the boys would come outside while I was there alone, and I did not want
  them to see me retrieving the items. I called Tasha McFarland and told her what I had found and that I was putting it in my trunk. I told her that I did not want to tell
    anyone that I had located the items because I did not want them to damage my vehicle while I was still on shift attempting to retrieve the items. I returned to the
 room and Officer Sterling reported that the boys were searched, and nothing was recovered on them. I heard                   talking to his caseworker and telling her that he
 had left his phone in Baytown. I pulled officer Sterling aside and told him what I had found and where. I asked him not to say anything to the boys, but I wanted them
 to be aware. DW was verbally assaulting all the staff on shift and telling us to get out of his “fucking room.” He then started getting his boots on to leave. We tried to
 get him to stay in the room and then he walked outside the door. There was a piece of the cabinet door that had been broken leaned up against the wall. DW picked
 up the board and I asked him to put it down. He did so and then went back into the room. I got the board and a bed railing that was broken in the room and took it to
  the front desk because I did not want him to use them as a weapon. After leaving the hotel, the contents of the bag were then fully examined which contained: four
     knifes, a knife sharpener, two cell phones (belonging to            , a phone charger, two Zippo lighters, a can of lighter fluid, a regular lighter, and four electronic
          cigarettes (see photo attached below) I called Tasha McFarland and told her what I had located and I brought the items to my office to lock them up




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                                                                                 Description
    On 2/2/23, I arrived at the hotel for the 12PM-4PM shift. There was only one child at the hotel. I decided to go through the binder and medication boxes while the
    other two children were still on runaway. I received a phone call from Cassie Boyd and Tasha McFarland letting us know that               and MW were in route and were
 being transported back to the hotel by an HST from Houston and I was told that they were going to give us their cell phone when they arrived. I decided to take all the
items that needed to be removed from the hotel to my car before they arrived. As I was walking down the hall, I passed                 and MW heading up to the room with the
HST. I continued to my car. When I returned to the hotel and was headed back to the room, I met the HST in the hallway. She said that she was scared to tell anyone in
front of the boys but that when she drove up into the parking lot the boys jumped out of the car and headed to a wooden fence on the rear of the property. She stated
   that they had a plastic bag that they had tied into a bow and hung it from the fence. I asked her if she would show me where it was located, and she stated that she
didn’t want them to see us. I asked her for her cell number and told her I would call her, and she could talk to me and help me locate it. She agreed. I left out the lobby
      of the hotel and turned right. I walked to the end of the building and turned right again. I walked all the way to the end of the property, right before the brown
 (caramel colored) fence ended and a black rod iron fence started. I saw the bow part of the bag sticking out of the fence with the contents of the bag hanging over the
   backside of the fence. I retrieved the bag. The bag was double wrapped in plastic and was very bulky. I walked around to the other side of the hotel and opened the
bag. I saw knifes, two phones, several vapes, and a couple packs of cigarettes. I did not fully inspect the bag before putting it into my trunk. I was worried that the boys
 would come outside while I was there alone, and I did not want them to see me retrieving the items. I called Tasha McFarland and told her what I had found and that I
  was putting it in my trunk. I told her that I did not want to tell anyone that I had located the items because I did not want them to damage my vehicle while I was still
    on shift attempting to retrieve the items. I returned to the room and Officer Sterling reported that the boys were searched, and nothing was recovered on them. I
    heard MW talking to his caseworker and telling her that he had left his phone in Baytown. I pulled officer Sterling aside and told him what I had found and where. I
    asked him not to say anything to the boys, but I wanted them to be aware.            was verbally assaulting all the staff on shift and telling us to get out of his “fucking
   room.” He then started getting his boots on to leave. We tried to get him to stay in the room and then he walked outside the door. There was a piece of the cabinet
  door that had been broken leaned up against the wall.          picked up the board and I asked him to put it down. He did so and then went back into the room. I got the
    board and a bed railing that was broken in the room and took it to the front desk because I did not want him to use them as a weapon. After leaving the hotel, the
contents of the bag were then fully examined which contained: four knifes, a knife sharpener, two cell phones (belonging to MW), a phone charger, two Zippo lighters,
     a can of lighter fluid a regular lighter and four electronic cigarettes (see photo attached below) I called Tasha McFarland and told her what I had located and I




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                                                                                Description
  I, Isabel Guajardo, HST III, am reporting an incident that occurred Wednesday Feb 08, 2023. I picked up                         from school to transport back to the hotel
where child was staying. While in the car, I noticed how             was looking towards my breast. Please note this is not the first time this has happened. I told         to
look up and he looked at me with a sad face. I drove off and when we got on the highway he reached towards my breast. I shouted, “what are you doing” and he said,
"moving your sweater so I can see your blouse”. He said, “I’m just trying to see your blouse it’s pretty” and again tried reaching towards my breast. I firmly told
 to stop as he was moving my sweater several times. He insisted to be reaching for my sweater (tapping or slightly touching my breast). He attempted to reach for the
   keys in the ignition and rubbed my leg in the process. I repeatedly told him to stop as we could have an accident.              started breathing hard he shouted “no!”.
             at this time took his seatbelt off. I pulled off the freeway into a parking lot and stopped. After speaking with him and him putting his seatbelt back on, I
 proceeded to look away to drive off the parking lot. At that point,            grabbed my sweater and blouse and pulled on it claiming he wanted to see my tattoo. After
repeatedly telling him “no!” he finally stopped. We arrived at the hotel parking lot and we went inside. He was trying to get up close to me a few times as to get a hug,
  putting his head on my shoulder but I kept moving away.               then in a split second came in for a hug. I went into defense mode and covered my breast with my
 arms and lunched forward and he hugged me, goodbye. I Isabel reported verbally by phone to my Supervisor Michelle Ford & CVS Supervisor Michelle Mckenna next
morning on February 9, 2023 around 10:40 am. My Supervisor asked for me to send a detailed report by email to her and she would forward to everyone who needs to
                                          be informed. Supervisor Michelle McKenna immediately sent this form for me to fill out.




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                                                                                  Description




 Caseworker (Erica Valdez) and Contractor (Ignacio Torres) transported the two children to Woodlawn Lake Park for an approved outing. After spending an hour at the
  park. The children were ready to leave. I offered to take the boys to get an ice cream for behaving. Both                   and           sat in the backset.           was not
satisfied with the choice of Dairy Queen.              said, “you need to be grateful.”           then said, “fuck you pussy ass bitch.” As the Caseworker reversed out of the
  parking spot.            punched             in the face.           unbuckled and began choking               and punched him repeatedly in the face.               was begging
              to let him go. I put the car in parked and began asking             to let          go. He finally released him. I evaluated both boys. There were no signs of
  major injuries other than redness appearing on                  neck. I stated we are going straight back to the room to report this incident. I asked the boys if they were
   going to behave. They said, “we’re good.” I asked for one boy to get in the front.                got in the front seat. The Contractor, Ignacio Torres sat in the back with
            . I began driving on Cincinnati Ave.            then lunged to the front and began punching                in the back of the head.            unbuckled and began
punch             repeatedly. I slammed on her breaks to avoid hitting a car and pulled over to the side of the road. I along with the contractor, Ignacio jumped out of the
 car as the two boys would not stop fighting. I called 911 and asked for help and EMS. I began pleading for the boys to stop fighting.                   finally got out of the car
   and was bleeding from his nose.               was sitting in the back seat with bruises on his face. Law enforcement showed up within 4-5 minutes. They provided the
    following case number SAPD23037960. EMS came out and evaluated the boys. EMS did not advise for them to be taken to the hospital. One officer transported
             back to the hotel. I transported             back to the room.              face began to swell and primary team was notified and though EMS did not indicate
                           needed to go to the ER at their initial assessment, but later            was taken to the ER by the on-call CVS staff to be assessed.




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                                                                                    Description
            was downstairs playing catch with her workers for about 10 minutes.                 was in the weight room with her worker.              wanted to go in the weight
  room as well.           stated she wanted to use the bathroom so worker Genesis followed her inside. After using the restroom,                   walked over to the hotel gym
where             and           were.            had           kite.         told         that she could play with but would have to give it back. When                walked out of
 the weight room she grabbed the kite.                swiped her kite back from          . Both girls exchanged words.             called         a “nigga” and a dummy.
 inserted herself in the argument attempting to defend                .         let         know that            is a child and that         needs to stop acting like a child. The
 arguememt then shifted between                   and       .           walks outside and           follows her and starts yelling “what are going to do”.            began to walk
away stating she’s be 18 in 40 days and proceeds to walk outside.                 proceeded to follow           outside and kept arguing with           . Staff told the girls to calm
down. Worker Genesis followed behind                  attempting to stop           from getting close to          .          then runs behind         grabbing her by her hair and
began hitting          . Staff is able to intervene and break the girls up. Reginald (admin) ran and grabbed               to hold her back, several other workers pulled
  back.          then became loose then runs after              and hit          and the girls began to fight again. It took majority staff and officers to pull the girl’s apart. At
     this ioint,         runs into the next hotel parking lot screaming that she was scared. Workers were able to separate the girls after several attempts. Sleep inn
   employee called Pearland PD.                was observed by workers and taken pictures of. She was bleeding from the mouth.                 had to be calmed down, she was
   threatening to run away. But workers and officer on duty were able to convince her and have her stay. Caseworker’s urged                      to go to her room. As staff and
           was on the elevator,             is screaming that she doesn’t want to go to her room.             starts hitting her head on the elevator door and screaming. Hotel
     staff and or guests that were in the lobby called the police. We were able to get               in her room. Eventually she calmed down Pearland Officer arrived and
     interviewed           .          stated she wanted to press charges. A statement was always written by                .         was then taken into custody because she
admitted to assaulting             first. Worker then proceed to take           to NextCare urgent care. She was recommended ibuprofen, she stated she didn’t want to take
                                it because of the interaction to her own meds Floater then came to urgent center and gave                  her meds




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                                                                              Description




 At 4pm during shift change CW Savannah Wells called law enforcement and requested in assistance in searching two of the youth. As it was suspected they were
 drinking alcohol. A 3rd youth reported to staff that the boys had alcohol. Staff asked boys what they were drinking. They showed solo cup with blue liquid in it but
would not let staff take it. Law enforcement arrived at 4:15 pm and went upstairs to talk to the boys. They denied having any alcohol and gave cups to officers. Cups
were almost empty. They smelled cups and agreed there was alcohol mixed in with whatever blue liquid was. Officer asked          if they took him to station and used
       breathalyzer if he would be positive and       shrugged his shoulders. Officers asked what we wanted done and we threw liquid away and officers left.




CWOP 4:00pm to 8:00pm shift Sonesta Hotel. Worker Antonia Alfaro Contractor Tymeshie Franklin. 7:00pm              called Worker to her bedroom and stated she self-
  harmed herself. Worker asked her where she hurt herself.          showed Worker her left wrist. Worker asked         what she used to hurt herself.          stated a
  staple, Worker asked         where she got staple.       stated she took staple off school paperwork that was stapled together. Worker asked           if she felt she
would continue to self-harm herself.         stated she wasn’t sure. Contractor went to bedroom and got         her blanket and pillow so she could stay in living area.
 Nurse arrived Worker mentioned to Nurse what occurred with             nurse dispensed medication and left Worker asked         if she wanted to go for a walk.
 stated yes, Worker, contractor and police went walking with         . During walk       shared information with Contractor Tymeshie. Contractor asked             if she
  was doing ok.        stated she was fine but had recently broken up with her boyfriend and he was upset, and she felt he was being emotional and making her feel
   bad. Worker asked         if she wanted something to drink or snack on from lobby.         wanted ice cream which Worker purchased for her. Back at the room,
  Contractor and Police stayed in living area with       while Worker cleaned up           room and found staple and removed additional staples from paperwork in
  bedroom. Worker contacted Supervisor on call at 7:04 pm and stayed in contact during last hour of shift, followed directions and sent picture of injury and cleaned
room and checked for sharp objects and removed staples from paperwork and disposed. Worker attempted to contact                 case worker Cassandra Garza to notify




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                                                                                  Description
         was awake at the beginning of the shift. Around 11:40pm             stated he wanted to go outside. He went back and forth to the room and outside a few times.
 Staffed followed him.         stopped at the front desk and to talk to the staff. While speaking with staff he made several sexual remarks. While staff was following him
   he made sexual comments to both staff.            stated he “let me hit, you know you want to let me hit”. “I just want my dick sucked. I know you give your boyfriend
 good head”          asked staff individually to come in the room alone with him.           was humping on vehicles in the parking lot and making sexual noises.               was
    knocking on the window to the hotel room.            went towards the freeway and started walking in the road and dancing in the street. Both workers asked
  several times to get out of the street and return to the room.          refused. The hotel security asked          to return to the room. She informed him he is disturbing
  the peace.         was very disrespectful to hotel staff as well. The staff at the front desk said they will have to call the police if he does not return to the room. After
continuing to disrespect hotel staff, we were informed that            would have to leave the hotel as soon as possible. Hotel staff contacted the hotel manager and David
Reynolds. The manager agreed that            needed to leave. David Reynolds was informed              needs to leave the hotel. Supervisor Fleater Warren was contacted and
 informed of           behaviors. Ms. Warren stated she would contact the program director.              continued to walk around the outside of the hotel until HPD arrived
    around 1:30am. Supervisor Warren was contacted when HPD arrived. HPD stated there is nothing that they can do because he did not commit a crime. Supervisor
Warren instructed staff to contact MCOT. MCOT was contacted and stated a unit would come out to the hotel. HPD eventually said they would have to leave the hotel
     around 2:30am. Ms. Warren asked HPD to transport              to the nearest hospital for psychiatric treatment. HPD transported             to HCA Houston West. Staff
      members went to the hospital and began the admission process. MCOT was contacted and informed assistance is no longer needed. Around 3:30am PD David
  Reynolds dropped off the key to the new hotel for staff to report once            is discharged. While in the waiting area,         continued to make inappropriate sexual
 CWOP 4:00pm to 8:00pm shift Sonesta Hotel. Worker Antonia Alfaro Contractor Tymeshie Franklin. 7:00pm                       called Worker to her bedroom and stated she self-
   harmed herself. Worker asked her where she hurt herself.             showed Worker her left wrist. Worker asked               what she used to hurt herself.         stated a
   staple, Worker asked          where she got staple.         stated she took staple off school paperwork that was stapled together. Worker asked                if she felt she
 would continue to self-harm herself.           stated she wasn’t sure. Contractor went to bedroom and got               her blanket and pillow so she could stay in living area.
 Nurse arrived Worker mentioned to Nurse what occurred with                 nurse dispensed medication and left. Worker asked              if she wanted to go for a walk.
  stated yes, Worker, contractor and police went walking with            . During walk         shared information with Contractor Tymeshie. Contractor asked                if she
   was doing ok.         stated she was fine but had recently broken up with her boyfriend and he was upset, and she felt he was being emotional and making her feel
     bad. Worker asked          if she wanted something to drink or snack on from lobby.            wanted ice cream which Worker purchased for her. Back at the room,
   Contractor and Police stayed in living area with         while Worker cleaned up              room and found staple and removed additional staples from paperwork in
   bedroom. Worker contacted Supervisor on call at 7:04pm and stayed in contact during last hour of shift, followed directions and sent picture of injury and cleaned
 room and checked for sharp objects and removed staples from paperwork and disposed. Worker attempted to contact                          case worker Cassandra Garza to notify
    During shift      was complaining of her right side above her stomach hurting and she feels like she going to pass out.             indicated the pain was so bad she was
     unable to lie down and rest. Caseworker called PD (Tara Bledsoe) and she informed to called EMS. Caseworker called EMS and they transported her to Children’s
              hospital to be seen. She was diagnosed with gastroenteritis and prescribed medication as needed for vomiting and discharged back to CWOP.




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                                                                                  Description
        asked CW Oscar Briones to go to the officers room (Room 121) and was telling the nurse about what CW Oscar Briones what to do in the event of a seizure. After
that,        and CW Oscar Briones threw the trash out and on the way back in              fell forward slowly. CW Oscar Briones informed CW Rebeca Salinas that            fainted.
     CW Oscar Briones called 911 at 8:35pm and requested for EMS to come to the hotel. Shortly after,                started shaking as it appeared to be a seizure. CW Oscar
     Briones turned        on her side. The nurse was with CW Oscar Briones while everything was going on.                continued to have “seizure like” behaviors to occur 5
 minutes and for the seizures to last about 30 seconds to one minute. EMS arrived approximately 5 minutes later. CW Rebeca Salinas called PD On-call Ida Pierce about
  what was happening with            . The Fire Department arrived about 2 minutes later. Both EMS and the Fire Department assisted with helping check                EMS asked
 about her history, but CW’s had limited information about her history. The nurse provided EMS with her current medications. EMS spoke with CW Rebeca Salinas that
      after talking with       and her vitals being normal, it appeared that due to her history of having seizures in the past then they would not be taking her in. EMS
  informed CW Rebeca Salinas that everything sounded and if it was psychiatric and not medical. Worker Oscar Briones spoke with Ida Pierce regarding the situation.
EMS asked Oscar Briones do describe the events leading up to the medical emergency. Oscar Briones informed the first responders exactly what occurred. EMS asked if
     the child had hit her head or if she was arguing with someone before the event. Oscar Briones explained that he had just arrived for his shift at 8PM and that the
  previous workers stated that the child was good during their shift and they did not have any behavior problems to report. Oscar Briones also told EMS that the child
    had collapsed slowly and did not hit her head. The nurse that administers the children’s medications felt that the child was pretending to have a seizure. EMS was
 overheard saying that the child’s vitals were “excellent” and informed Oscar Briones that the medical emergency was most likely psychological and not physiological.
Staff called to report that                   had been vomiting most of the shift. They called EMS and she was checked out. EMS stated that her vitals were good and that
  she had a “stomach bug” that just needs to pass. They recommended that she have liquids to help. And then left. PD On call made sure that there was bottled water
    which they confirmed. PD On call also informed them that there should be some drink packets to mix in the bottled water if she wants something like fruit punch.
After the swimming in the pool with the two other children in CWOP,                   got out, and immediately walked upstairs while wet. I called out to            to ask where
    she was going, when she did not answer I went to follow her, leaving Tymeshie Franklin, a contractor with                    and        . When I arrived in the hotel room,
            was still not talking to me, she got dressed, and we went down in the elevator leaving through the lobby.                  walked out to a section of the parking lot
 where a large tree is located, I persisted in asking what was wrong.               said she was upset being placed in a room with two girls, that the girls were “babies” and
  that she wasn’t afraid to fight them. Tymeshie Franklin was present and she waved for the police officer to come over to be near us. I told her we could go upstairs,
and she can try calling her caseworker, she refused.               acquired a small blue piece of plastic, she said if I did not get the PD of the phone, she would cut herself or
   jump in front of a car. I called twice, and also sent a text message to PD, Molly Daniels.             spoke to Ms. Daniels for a brief time, she hung up and said she was
    going to self-harm. I followed her back upstairs, she went into the room and grabbed the lid of a metal can, leaving the room, running down the hallway and stairs
   ignoring the caseworker, Rebekah Van Over, and police officer, Officer Duffy. I followed                around the hotel, she went back to where the tree was and when I
 caught up she had already cut herself 2 or 3 times. I asked              to please give me the tin lid, and notified Officer Duffy that she was self-harming, she got up again,
 dropping the lid and began to run.              ran back inside, I found her in the common area-breakfast nook and notified the officer; officer Duffy told              that she
was begin detained for being a danger to herself and others. A phone call was made to PD, Molly Daniels to notify her, as well as a call to the non-emergency SAPD that
we were going to ED a child. The call to non-emergency SAPD was made at 4:00p.m., a follow up status call was made at 5:24p.m., officers arrived at 5:45p.m,




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                                                                              Description
On March 31, 2023, around 8:33PM, CW, Paula Ringer, brought V her medication and a bottle of water. V took the meds and put them in her hands but refused to put
  them in her mouth. CW, Veronica Rayfield, and CW Ringer instructed V to put the meds in the cup. V began to log out of Instagram and walked towards the elevator.
   She kept stating, “‘I’m ready to go upstairs.” CWs and Officer Butler made their way to the elevator. CW Rayfield asked V what was wrong. V reported she broke up
   with her girlfriend again. While on the elevator, both CWs instructed V to put the meds inside the cup. V refused and stated, ”ima take em in the bathroom.” Once
 inside the bathroom, V asked CW Rayfield to "backup.” CW Rayfield stepped behind the threshold of the bathroom. V asked for the plastic cup so she could put water
 in it. CW Rayfield gave the cup to V. V attempted to close the door, but CW Rayfield put her foot down to stop it. V put the cup down and put the meds in her mouth.
CW Rayfield instructed V to use the cup to get water from the sink. V then, unexpectedly, grabbed a bottle of “kids and pets cleaning solution” and drank it. I informed
V to stop and also instructed CW Ringer to call 911, which she did. V came out of the bathroom and went to the corner of the room, by the window. She began banging
her head on the wall and it left a dent. Officer Butler put a pillow behind V’s head and informed her to stop. V began to cry and stated, “I wish I was a normal kid. Every
  day I wake up and I don’t want to be here.” CW Ringer came back into the room and stated police and the ambulance were on their way. CW Rayfield contacted the
 CASA supervisor to let her know what was going on. The Mobile Crisis Unit finally called back at 9:01PM. CW Ringer informed them of what happened and reported V
  was on her way to Baylor Scott & White Hospital in Waxahachie, Texas. RD follow up: Following up on why the cleaning solution was in her bedroom. I know that she
                  wets the bed and that it was being used for cleanup but want to make sure that it is not stored in the room but in the medication room.
 CW Montes worked the 8P-12A shift at Penelope.              came out from his shower to find that his room had been ransacked. CW had previously observed peer in
            room while          was showering without realizing it was            room.        and exchanged words and              became upset and punched the wall
    beside his room with his right fist. EMS were called and checked          out.        requested x-rays and CW took         to the hospital once relief staff arrived.
                                                        did not have broken bones and was discharged shortly after arriving.




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                                                                                 Description




 On 3/17/2023, when staff showed up at 8PM for the 8PM-12AM shift, groceries were being delivered by another worker. Staff was notified there were concerns that
          might be under the influence of Marijuana. The youths immediately began hoarding food items, cooking and eating various items. At 9PM, staff checked on the
youths while they were upstairs.             ,      ,     and         were observed not in the home due to having climbed out of one of the upstairs bedroom windows and
onto the roof. Staff stood outside in the backyard and yelled towards the youths on the roof to come inside and they are not allowed to be out on the roof. The youths
 could be heard mocking the instructions. There was a sweet and smokey aroma outside while the youths were on the roof, as if they were smoking swisher sweets on
  the roof. Shortly after, the youths came inside.           said they were never outside. Staff confronted him that the house was searched and none of the youths were
    inside. He then responded that staff can’t tell the youths to not go out on the roof, because this is their home and it is their roof. After coming inside,           went
 downstairs to his bedroom and stayed there.              stayed inside in his room.          and     could be heard continuing to go outside on the roof and walking around
   on the roof. At 9:18PM, staff walked upstairs again and           was observed drinking a beverage from a glass bottle and quickly hiding it in his closet. All staff and the
      police officer on shift then went upstairs to address the concern.          ,        and      were all in      bedroom at this time.         was still in his bedroom
 downstairs.          was being verbally aggressive with staff, telling staff to get out of the room and leave them alone and repetitively asking staff, “what?” and “what do
       you want?” while staff was trying to inquire about the concern there may be alcohol in the bedroom. Staff asked            if he had alcohol, reminding him that is
   dangerous and not allowed.          then became angry and verbally aggressive, stating he didn’t have sh*t, and staff needs to not make accusations at him. The police
    officer on duty then searched          closet and found a 750ml bottle of Campo Viejo Rose’ wine. The bottle was still ¾ full. He confiscated the bottle and gave it to
       staff. Staff poured the bottle down the kitchen sink and then threw the bottle into the outside trash bin. The youths did not say anything about it afterwards.




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                                                                                 Description
 3/23/23 11:50PM Before 12a-4a shift started CW Hopmann was in the parking lot when                   ran past car in the parking lot with Rachael Richardson running behind
him yelling for him to stop. He got all the way to Interstate 35 and then turned around and ran back towards us. We grabbed his hands because he asked for us to hold
 his hands and walked back to the hotel room. At 12:01, we arrived back at the hotel room with                 and he drank some water and then attempted to leave out the
     front door. CW Gebser arrived in the parking lot as we were walking back and walked in with us.               attempted to flee the room. Rachael, Kim, and Charlotte
   barred the door while Morgan called Staci and then MCOT. The number listed in today’s email does not service McLennan County. Worker was referred to another
number but while receiving this information              reported he needed help and that he felt unsafe.             is very strong and was able to get the door partially open
despite three people holding it closed. 911 was called they responded and              was calm and responsive to them. Staci was on the phone when the police arrived. It
 was determined he would be transported to Hillcrest by hospital.             did well in the ambulance and Morgan rode along. We arrived at the hospital at 1:03.
   was bought to emergency room 20. He used the restroom and changed into a gown. Staci arrived not long after.                    was calm as his vitals were taken and as he
    was visited by the doctor and social worker. The doctor reports there are no psychiatrists at Hillcrest. They will refer           to a psych facility but there is limited
availability. The facilities won’t consider admittance until           bloodwork is complete.             told the social worker he did not feel safe. At 1:50 the social worker
 was done and             asked to lay down. The light was turned off and his bed was lowered. A few minutes later a nurse came to start an IV.               used the restroom
   again then laid down at 2:08. He was heard tapping his fingers on the headboard and was restless but eventually quieted down. Ativan was administered at 2:30. At
   2:50          got up to use the restroom. At 3AM the social worker stopped on her way out. She says a referral was put into Cedar Crest but she is unsure when the
 As soon as I arrived to the shift at 11:45am (12pm to 4pmShift)             started asking staff and security guard if we had a phone charger that she can use, none of us
   had one for her to use; she got upset, stomp around the living room/dining area, saying how unfair it was for us not to let her have a charger (using very unpleasant
language at times), then she got some nail polish bottles and began to color an acrylic rainbow item at the kitchen table, LPS worker Melissa Druery gave her a piece of
    paper to place under the rainbow so none of the nail polish get on the table,             moved to the desk and short time later at around 1:30 pm                 stepped
   outside in the porch with a nail polish bottle in her hand and she throw it (front door was open and she could be seen through the glass door) hitting something the
noise could be heard inside the home, I came out and asked her if she hit my car (I did not inspected my car at that time), she immediately said “no, I hit the concrete”
she then walked to the street and continued to throw the nail polish in the pavement, I asked to stop and after asking her couple times, she ran towards the house and
 went inside and saying “I just that car, don’t say anything”. I told her that was not right and that she could get in a lot of trouble, she stated “no I didn’t hit it don’t say
  anything and don’t go outside”. At the end of the shift 4pm, I was getting ready to leave walked outside, as I approached my car saw a dent and nail polish splatter in
      the hatch door and back bumper. I went back inside the home and inform                that she did in fact hit my car, she denied once again, got angry and she went
   outside to inspect the damage, “she stated oh that is a little dent and some nail polish” when I informed her how much my car cost, she said that it was my fault for
paying too much for my car. I informed her I would have to report the incident, she became more upset, telling me to leave that my shift was over, and she wanted me
 to leave and try to forcefully close the glass door, breaking one of my nails, when I told her look you broke my nail, she said “so now you want me to pay for your nail
 too?”. Bryan PD was contacted Officer Baphke responded; pictures taken (photos attached) incident report #230300971 Officer Baphke requested an estimate of the




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                                                                                  Description
          was transported to Hillcrest Hospital by EMS, CW Gebser and the female officer rode with                in the ambulance.            wanted to go for a walk. Worker
   Richardson said she would go with him. She told him it is late but she would take him down the hallway and to the front desk area.                 ran over to the door and
pulled the top lock off. Worker Richardson who was standing close by pushed against the door saying hold on                  , I’m going to go with you.         pulled the door
  open and took off running. Worker Patty heard worker Richardson calling out to                to stop. At 11:47 worker Hopmann who was coming onto the 12:00am shift
  called worker Patty’s phone and said she had            . She said worker Richardson was also with her. She said she had seen them run past her car. Worker Hopmann
  said         had made it all the way to the highway and he turned around. Worker Hopmann, Gebser and Richardson returned to the room with                        . Once inside
the room,           started asking for help. He told workers to call the police. He said he wanted police to come help him. Worker Hopmann held                    hands. He said
  the voices were telling him to punch worker Hopmann. He began to run towards the door. Worker Richardson ran to the door placing her back to the door. Workers
    Hopmann and Gebser threw their bodies against the door. He was trying to pull it open.               stopped and was redirected. Worker Hopmann started holding his
    hands again. Worker Richardson grabbed her phone and turned on some music for                   . Worker Hopmann was still holding his hands and she began dancing in
     place.         was bouncing up and down to the music.              kept saying he wanted help. Worker Gebser attempted to call the crisis hot line however
  attempted to push back workers and get out the door again. Worker Gebser called 911 for law enforcement. It was decided by workers that law enforcement could
    respond quicker and help workers keep             safe as he was attempting to run and he is very strong, pushing workers out of the way.              attempted several
     times to try to get out the front door with at least 3 workers trying to hold the door from being opened by              .         also attempted to leave through the
 window in his bedroom but was redirected and escorted back to the living room by Worker Hopmann. Law Enforcement arrived and assisted with                          trying to run
 out of the room. The male officer bear hugged him to get him to stop. The female officer was then holding his hands and trying to engage with him to keep him calm.
          was cranky when he was picked up from school. He was very touchy when he got home and Staff asked him repeatedly to stop but he would not. Then
   grabbed some Axe Spray and doused both Staff with it. It was a lot of spray, but staff was ok. He became more upset when he realized staff was frustrated with his
                   behavior and left the home. Staff followed him to the library and remained there with him until he agreed to come back to the house.
  At approximately 12:50         and       came out of        room. They had been watching ticktok videos. They had been calm for about an hour.               came out of the
 room and said that she wanted to go for a walk. PD White said that it is too late for a walk. She said that she would just stay in the hotel. CW Lyle followed the girls in
   the hallway. CW Lyle called PD White and told me that           was coming up for her shoes. She came back up to the room to get her shoes. PD White asked why she
 needed her shoes and she was going outside. After a couple of minutes, PD White went outside of the hotel and found CW Lyle,                  and      on the side of the hotel.
       was poking her head into a hotel window. We were all asking            to stop and to go inside. She started to yell and threatened CW Lyle physically.         came over
      to CW Lyle and grabbed CW Lyle by the hair and pulled hard by starting to walk away while pulling CW Lyle’s hair. PD White and              got between         and the
   caseworker and tried to stop        . PD White told       to let go. After about 30 seconds of the assault, we got         to let go. PD White asked that CW Lyle and
move away from           as PD White was calling the police. PD White, CW and          walked towards the front of the hotel.         ran passed us and said that she was going
to the room. She had no key and we waited outside for LE. CW Lyle was hurt. I asked if some of her hair came out and she said that she thinks so. LE talked to                  for
     about 30 minutes trying to get her to calm down. There were 4 officers present. They hand cuffed her. She cried terribly and said that she was so sorry. She was
                               arrested for assault and taken to juvenile detention in Georgetown. If she is released, security will be needed.




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                                                                                Description
  At 7:20am                walked out of the house and CW Krusely followed her. After several minutes they returned to the home and                      went to her room. CW
 Surma attempted to ask her if she wanted her meds and she got very upset and stated that she was going to kill CW Surma. She asked staff to call the police because
    she didn’t feel safe in the home. She then took a coat hanger and broke it and started sharpening it on the brick wall. She walked in and out of the home with the
 hanger in her hand. CW Surma called LE and asked for assistance.                    then went back outside and asked whose car was in the drive way. CW Surma stated that
  it was hers.              stated that she was going to “fuck up the car”. LE arrived 5 min after the call. They asked about her history and was provided with her mental
     health history. He was notified that she has not been consistent with her medications.                  agreed to go voluntary to the hospital and was transported to
       McLanes Children’s Hospital. Officers returned inside the home at 8:15 and stated that they will most likely do an EOD since she feels like a danger to herself.
    At 11:15 Worker Jessica knocked on the door and asked                 to leave the door cracked so it was not locked.          became upset and began to scream at the
 worker. She pushed the chair that held the workers computer and knocked her phone and her her bag on the ground.                      yelled that she would punch the worker
 in the face. Worker Jessica stated that if she did the worker would call the police.             shut the door and locked it.          then came back into the room and said
   let’s call the police.         dialed 911. She screamed into the phone that the police needed to come before she hit the worker.                 yelled into the phone that
   someone needed to come here now.                  continued to yell and cuss that the worker was harassing her. The 911 operator tried to speak to             , but she was
 upset and would not stop yelling to listen. Finally the 911 operator stated that              needed to calm down.            screamed into the phone that someone needed
to get here and she hung up.               continued to yell as she went back into her room. She slammed the door.              came back into the other room, and stated she
  was going to follow the worker down stairs. The workers still in the room followed her out.               was met by police on the fourth floor. Police spoke with
and then spoke with workers. Police then spoke with                 again. When the police were leaving, the officer stated he felt things had calmed down and they would be
                                in the area if needed again.           calmed down and was agreeable to leaving the door open after police left.
Around 9:30am              began demanding to use Worker              tey’s phone, demanding she make phone calls to the primary worker and other workers. He was raising
   his voice standing over her, invading her personal space, calling her a “puta” multiple times and continuing to demand she move faster in a threatening manner. He
    began slamming doors, hitting doors, and continued invading workers personal space while making demands and cursing at her. Worker attempted to speak with
            calmly in Spanish attempting to defuse him, however, he continued to display the same behaviors of intimidation.                 behaviors continued to escalate
    against her and LE was called for assistance. LE arrived at the hotel.          did not acknowledge his behaviors while speaking to LE and attempted to normalize his
     behaviors.          stated he never wanted to see worker again and didn’t want her coming back but would not say what would happen should she return.
requested that worker not speak to him. LE recommended to call them back should his behaviors continue.                   was de-escalated and no further incidents during the
                                     shift or the next shift were reported. On shift were Workers Caridad Cardentey and Ronnette Tolliver.




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                                                                                 Description




On March 25, 2023, at 2:30pm, Worker Leah Golden arrived for her 4pm shift at 208 Mobiletown Bryan TX. Worker Druery left at 2:30pm. CW Kate Kessler was on shift
 and scheduled for the next shift 4p-8p as well. I (worker Leah Golden) arrived early for shift at approximately at 2:30PM.                   asked to speak with me outside
on the deck.        was complaining about not being allowed to use wifi and attempting to manipulate me into giving her the password. I told her no, I had no authority
 to provide wifi access to her, and if she had questions regarding access she needed to discuss that with her CW. She was frustrated and argumentative, so I worked to
   process her thinking with her. While I was speaking to        ,                 asked if she could use my charger, stating her case worker was bringing one to her on
Monday but asked to use mine. I provided the charger to her. I was then informed by Police officer Bennett that                 was not supposed to have a charger. I quickly
assessed              information and discovered that to be true. I asked for the charger back.           refused to give it to me. I called on call Supervisor: CVS PD: Kristen
 Harris at 3:14pm to inform her of the situation and that I had allowed            to have the charger. I informed PO Bennett that I had not read                 notes yet as I
 had been engaged in conversation with           over wifi access. PD instructed me to tell          that the charger was state property and             did not want criminal
charges, and to tell          that I had spoken with the PD over her CW.             and       locked themselves in              room. I knocked on the door and asked them
  to unlock it. They did not comply. I texted PD that information. A few minutes later they unlocked the door. I stepped into the door and requested the charger back.
             laughed and refused to return it. I explained that the charger was state property, that she did not want to get criminal charges. At approximately 3:20pm
            pinned me between the door and door jam. Security Bennett got between me and door. While the commotion was going on I tried to retrieve the charger,
          came after me and kicked my right ankle, and punched my left shoulder. Officer Bennett placed himself in between me and                     and took the brunt of the
 punch. If he had not placed himself in between me and               I would have been punched directly in the face-              punch landed on my left shoulder.
   kicked my right ankle, leaving a red mark and swelling. During the commotion, my right middle finger got cut. At 3:27PM PD Harris called and I informed her of the
  assault. She told me to call law enforcement. At 3:34 I called Bryan Police department non- emergency number and reported the assault on myself and Police officer
 Bennett. I left the room and put the charger in my bag.            and youth          ran out of the room,          grabbed the charger out of my bag and ran into
room- standing at the door. Security Bennett followed them and encouraged them to stop and think about what they were doing.                       ran down the hall and threw
  the charger in my face. Youth          came out of the room with her cell phone stating she was recording the whole incident. 3:57- CW Kate Kessler requested PD to
disconnect CWOP phone. PD notified Carol Morin and requested it be turned off.                and       returned at 4:04 PM. Bryan Police Officer Simmons arrived and took
 my statement-took pictures of my injuries and took              and         statements. Officer Simmons spoke with Security Bennett. Officer Simmons informed me that
 he spoke with his sergeant and was informed they could not arrest               tonight but would put out a warrant for her arrest on Monday. Security Bennett informed
                                                  me that           was being charged with felony assault on peace officer.




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                                                                                 Description




           and       (another youth) got into a physical altercation in the upstairs bedroom.              initiated the conflict by throwing items at       and squirting water
from water bottles at        because she wanted        to quit sleeping in the common area and clean her half of the bedroom.              asked           to stop and she began
  to cry.      got up and went into the bedroom and              followed her.       called          a “bitch” when she walked away and                pushed her chest against
          chest and dared her to call her a “bitch” again.      pushed            away from her by grabbing her throat, and               began punching         in the head and
face and pulling her hair. The two were separate and police and EMS were called.             asked to be transported to the hospital and EMS determined it was necessary to
check for concussion. Law Enforcement responded but                  was not arrested. Addional Information from second form:                                    was assaulted by
 another youth, . while at CWOP.           and             got into a physical altercation in the upstairs bedroom.        initiated the conflict by throwing items at
 and squirting water from water bottles at              because she wanted                to quit sleeping in the common area and clean her half of the bedroom.
 asked       to stop and she began to cry.            got up and went into the bedroom and                followed her.             called      a “bitch” when she walked away
   and       pushed her chest against              chest and dared her to call her a “bitch” again.               pushed      away from her by grabbing her throat, and
 began punching              in the head and face and pulling her hair. The two were separate and police and EMS were called.                     asked to be transported to the
    hospital and EMS determined it was necessary to check for concussion.                 was determined not to have a concussion and she was discharged immediately.
                                                There was swelling to her head and face in the area where she was punched.




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                                                                                   Description
    On 03/31/2023 at approximately 8:00PM, Protegee Renee Ricard-Jefferson was in the parking lot of Laquinta Pearland waiting for Lead worker to return from the
    Pearland Office. Ms. Jefferson decided to return to the lead room with assigned Officer Diamond Merrit. Upon entering the hotel lobby, Ms. Jefferson was able to
     observe in a mirror that           came up behind her and attempted to put a rope around her neck. Ms. Jefferson was able to grab the rope before it tightened
 around her neck and she was able to take control of the rope away from                   . Ms. Jefferson and assigned law enforcement Herschel Smith called Pearland Police
 Department to respond. Ms. Jefferson reported that she wanted to pursue charges against                       . Officer Brandon Sasser and D. Slaughter responded to the hotel.
 Incident 23-003151 was issued. There were no visible injuries to Ms. Jefferson. The rope was from a blow-up target/ball game that had been brought to the hotel on
   03/30/23 by Ms. Jefferson while assigned to               on the 5PM-10PM shift. The rope was approximately 2 feet long and would be used to tie down the blow-up
  game. Staff became aware of                taking the rope at the end of the shift and assigned law enforcement was notified of it. It was assumed that the assigned law
  enforcement was able to get the rope from her that day. Issues with                  initially started at the end of the 03/30/23 shift.            began throwing balls at Ms.
      Smith and            became upset when she was being counseled by Ms. Smith about her behavior. She ran out of the room taking the rope with her.
 attempted to get into Ms. Smith’s vehicle and refused to move out of the way. Assigned law enforcement had to intervene in order for Ms. Smith to be able to leave
    the parking lot.          had issues with Ms. Jefferson and Lead Worker Norma Smith at the beginning of today’s (03/31/23) shift because she was not allowed to
enter the lead room to get her own snacks. She made several attempts to gain entry to the lead room by pushing past staff. She reached for the medication box on one
12:45pm–        went inside the hotel and sat down on the lobby computer. After Worker Turnbow informed Ms. Morgan Shields that                      was on the computer, Worker
      Turnbow was instructed to get         off the computer as we did not have a hotel room at the time. Worker Turnbow asked                to get off of the computer.
responded it was fine. Worker Turnbow informed              she needed to get off of the computer as we did not technically have a room at this time.              responded that it
 did not matter, it was fine and she continued. Worker Turnbow informed                Worker Morgan Shields is requesting that          get off of the computer.       responded
 that Worker Morgan Shields is not here to tell her what to do. Worker Turnbow updated Worker Morgan Shields and was instructed to speak with the hotel manager
 and ask them to instruct        to get off of the hotel computer. Worker Turnbow informed               she would be speaking with the hotel manager if          did not get off of
     the computer.       responded that she hoped the hotel manager would come out and say something to her so that she could act and get kicked out of the hotel.
    Worker Turnbow spoke with the front desk attendant who was in charge, Gabi. Gabi came over to                    and asked politely for     to get off of the computer.
responded no she would not. Gabi informed             that she was the authority at the hotel and she was asking            to move away from the computer so she could turn it
off.       responded by mocking Gabi and telling Gabi to fuck off, saying that she would turn the computer back on anyway. Gabi asked Worker Turnbow to retrieve the
wireless keyboard from the computer so she could prevent               from further being on the computer. Worker Turnbow retrieved the keyboard and gave it to Gabi.
  began raising her voice and calling Worker Turnbow and Gabi a bitch, telling them to fuck off, and cussing and yelling. Worker Turnbow reminded                     we are in the
  lobby of a hotel in a public space.       mocked Worker Turnbow and responded shut up whitey to Worker Turnbow. Gabi informed                       if she continues to raise her
    voice and cuss at her that she would be calling the police for a public disruption.          mocked Gabi and replied then do it. Gabi walked away and informed Worker
     Turnbow she would be calling the police.         got up, still cussing and raising her voice at Gabi and walked out of the hotel door while telling Gabi to fuck off and
 stopping to flip her off. Contract worker Stefanie and Worker Baber walked outside to speak with                 . Worker Turnbow went over to Gabi and spoke with her about
 the police arriving. Gabi apologized and reported she has a job to make sure the hotel is a welcome place for families. Police arrived and asked Gabi what she wanted
   to do. Gabi informed police she wanted to press disturbance charges against             . Police informed Gabi they needed to witness this for charges to be pressed. Gabi
 informed police she wanted          to be removed from the premises then. Gabi informed Worker Turnbow that                   was not permitted to stay at the hotel. RD Follow
   Up: Staff reported that       had been acting erratic. There was concern about her being on the computer because she has a history of looking at porn while on the
                             computer There is no explanation for why they felt the need to contact the manager and this has been addressed


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                                                                                   Description
At 10:14pm while other youth was in the shower.              was upset that the youth was using “her restroom” and we informed that all youth could use the bathrooms to
 shower.          became upset and started running into the room she was sleeping in and started kicking the shower the door.                   kept saying “fuck the police” “fuck
 everyone” get out of my shower.            going back and forth trying to fight the youth and kept kicking the door until she kicked it in while the other youth was taking a
   shower. The security, the other worker and law enforcement assisted to calm               down and to keep her from fighting the youth once her shower was completed.
 Worker arrived at noon for shift and          was visually distraught and previous staff stated law enforcement had been called around 10:00 AM for physical aggression
 towards staff and security. She began kicking the interior door that goes to the garage and said she needed in the garage. The worker asked her what she needed, and
     she picked up a broom stick and started hitting the door with it. She then went out of the kitchen and towards the security guard swinging the broom. The worker
  asked the security guard to stand outside as this might have been triggering her and she started swinging the broom at the worker. The worker asked her to stop and
   she continued to hit the walls, windows, fireplace cover, and furniture with the broom. The worker asked the other youth in the home to get dressed and go outside
for her safety. The workers, security and youth went outside the home for their safety.               started coming out the door with the broom and chasing the workers and
   security. She then started bringing chairs, coke cans, and objects and chasing and throwing them at the workers and staff. She hit P3 and P4 with the broomstick and
  then bit the P3 worker on the right arm above the elbow causing swelling and a bruise. She also slapped the P4 worker several times. Worker was on phone with 911
        during this time. EMS arrived with LE and it took several of them to restrain her and put her in a wrap and she was still biting or trying to bite them. She was
                                                                transported by ambulance to McLane Children’s.
         arrived back to the house after being released from Juvenile Detention around 3:30pm. At that time, there were four girls placed at Stratford but                   was at
   a doctor’s appointment.          placed her stuff in the bedroom that           had been sleeping in.           left Stratford so workers cleaned out her room and changed
 the sheets. When             returned home at 7:30, she asked          to get her belongings out of the bedroom she was in.              said no and began arguing with
  over who was going to get the room.              went into the bedroom and started throwing                 belongings into the living room.         went to the bedroom door
 and threw a Wii remote at              .       then came out and pushed           . The girls began physically fighting and were picking up various household objects to use
as weapons.           went outside in the backyard and got a brick. She came through the front door and threw it at                 .       then grabbed a butter knife and began
threatening to stab            with it. The other worker (Alaysia Cotton) stood in front of           and tried to get her to put the knife down. Workers were able to separate
 the girls. The security officer went into the room with           and        eventually walked outside in the backyard with the knife. Police arrived and an officer walked
  through the gate to the backyard. Two more officers arrived to assist and were asking               to put the knife down but she refused.           threw a wooden fence post
and a chair at one of the officers. The female officer got her handcuffs out and they put              up against the wall.        was kicking the officers and resisting arrest. All
    three police picked her up by her arms and legs and carried her to the patrol car. Two more officers arrived and it took all five officers to get            into the car. She
 was kicking, biting and slamming her head into the ground. The officers placed             in a full body restraint that wrapped around her whole body along with a helmet.
     Officers went inside to speak to          and get a statement. They asked            if she wanted to press charges and               said yes.       was taken to juvenile
                                          detention for the charges of assault on a police officer, resisting arrest, and family violence.




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                                                                                  Description
  At 10:45pm,               ran from his room to the room’s door. Both workers told           to stop and be safe.             ran out of the room and exited the hotel. Worker
  Bridgewater ran after             and requested repeatedly that he stop running. Worker Hemenway stayed in the room and calmed the other youth in CWOP, who was
     concerned about what was going on. Worker Bridgewater continued to run after                   until he scaled a 6 foot chain link fence into a construction area. Worker
 Bridgewater returned to the room and notified Worker Hemenway that she was unable to catch up to                        . Worker Hemenway called 911; Bridgewater contacted
 the shift lead. Worker Bridgewater returned outside incase                 returned he would see a familiar face. At 11pm, Waco PD arrived to the hotel room and notified
     Worker Hemenway that                was located and was being escorted back to the room. 11:09                and Bridgewater returned with a police escort. Waco Police
           Officer Sowders indicated that they would not do a runaway report due to the fact that               stated that he was just lost.        then went to his room
  CW worker was shot in the ankles by a pellet gun. Beginning of the shift 3 boys were outside shooting some sort of aerosol/pellet gun. Worker Stinnett arrived, and
when she got out of her vehicle (which was parked in front of the home along the road), and is walking on the driveway towards the house,                   has a pellet gun in his
hands shooting it towards Worker Stinnett. She repeatedly asks him to please stop because she does not want to be hurt, she explains you do not point any gun toy or
  not at anyone, and she did not want to be struck in the face or eyes. He then starts shooting at her feet. Again, she asked him to stop, and she was shot in the ankles
  with the gun. She can feel stinging on her ankles, sees dust coming up from the ground, but does not see what is hitting her ankles. Again, she asks               to be please
      stop because whatever is in the gun is hitting her ankles, and it is stinging.     said he was not hitting Worker’s Stinnett’s ankles but the ground. Again, Worker
   Stinnett asks         to stop. Finally, he does. Worker Stinnett walked into the home.         is shooting the gun at the house to include the windows. You can hear the
   pellets hitting the siding and windows of the house. Again,          is asked to please stop, but he continues. Then another youth and             come into the home.
 then came in with the gun and started shooting inside the house. We asked              to and he did not listen. Worker Stinnett called the Supervisor on call-Belinda Burke.
The supervisor instructed that the local LE be called to come and make a complaint and/or arrest the boys. Worker Stinnett was still on the telephone with supervisor,
when she walked outside to the boys and explained that she (Worker Stinnett) would be calling law enforcement.                    and and the other youth were at the back porch
     filling the pellet gun back up with pellets. They had orange pellets soaking in water and loading the pellet gun with the gel pellets. Law enforcement (2 uniformed
  officers) arrived (Morillo#49) and talked with all 3 boys and Worker Stinnett filed an incident report CASE# 23000794. Officer Morillo had a candid talk with the boys
      about having criminal consequences to assaulting Worker Stinnett with the pellet gun. Another youth explained the pellet was a toy he purchased by the nearby
   Walmart.           said sorry to Worker Stinnett form shooting her with the gun. The officer explained about CPS workers being officers of the court. He reassured the
  youth that if they are called back to the home for another incident, they are more than likely be arrested and held accountable for their actions. Officer Morillo then
 talks to Worker Stinnett alone as she does not press charges. While outside, Officer Morillo explained that the bullets soaking in the bowl/container of water need to
  be soaked for about 4 hours or more, then they will be like tiny paint balls. However, the boys seem to be not letting them soak long enough because they feel more
   like BBs when they hit your skin. Officer M. Hamilton arrived for his shift and informed us the window of a black truck was busted out. Worker Stinnett was already
outside talking to On Call Supervisor (Belinda Burke) providing an update about the police visit. We went outside to look at the truck and yes, the window in the back of
  the bed of the truck was busted out on the left side In the bed of the truck are orange pellets              is saying another youth threw a rock at it Another youth stated
          was verbally yelled at by other youth in the residence as they had found out          was actually 12 and not 13 like she claimed.           went into the bathroom to
      cry and lock herself in the bathroom. Another youth and staff were able to get           to come out and             told the other youth that she wanted to kill herself
 tonight. Staff contacted 911 immediately as             went into her room to cry and scream loudly at the other youth in the home. Other youth in the home threatened
             harm to         as she was found to have stolen possessions from the other youth.            was transported to McClane’s Children’s Hopsital by EMS/LE.




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